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                                Exhibit 1
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1                  UNITED STATES DISTRICT COURT NORTHERN
2                DISTRICT OF CALIFORNIA SAN JOSE DIVISION
3
4    CHASOM BROWN, ET. AL,                               )
                                                         )
5                        Plaintiffs,                     )
                                                         )
6                  vs.                                   )
                                                         ) Case No.
7    GOOGLE, LLC,                                        ) 20-CV-03664
                                                         )
8                        Defendant.                      )
     _________________________________)
9
10
11                       REMOTE TRANSCRIPT OF PROCEEDINGS
12                               FEBRUARY 16, 2022
13                                       12:08 p.m.
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24    NOELLE C. KRAWIEC, CSR NO. 14255
25    OFFICIAL REPORTER PRO TEMPORE

                                                                 Page 1

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1     APPEARANCES
2     FOR PLAINTIFF:              MORGAN & MORGAN
                                  BY: RYAN MCGEE, ESQ.
3                                 201 NORTH FRANKLIN STREET
                                  7TH FLOOR
4                                 TAMPA, FLORIDA 33602
5                                 BOIES SCHILLER FLEXNER
                                  BY: MARK MAO, ESQ.
6                                 BY: BEKO RICHARDSON, ESQ.
                                  44 MONTGOMERY STREET
7                                 41ST FLOOR
                                  SAN FRANCISCO, CALIFORNIA 94104
8
                                  SUSMAN GODFREY
9                                 BY: ALEXANDER FRAWLEY, ESQ.
                                  1301 AVENUE OF THE AMERICAS
10                                32ND FLOOR
                                  NEW YORK, NEW YORK 10019
11
12    FOR DEFENDANT:              QUINN EMANUEL URQUHART & SULLIVAN
                                  BY: JOSEF ANSORGE, ESQ.
13                                BY: ANDREW SCHAPIRO, ESQ.
                                  BY: BRETT WATKINS, ESQ.
14                                BY: VIOLA TREBICKA, ESQ.
                                  BY: TRACY GAO, ESQ.
15                                865 SOUTH FIGUEROA STREET
                                  10TH FLOOR
16                                LOS ANGELES, CALIFORNIA 90017
17
18    ALSO PRESENT:               DOUGLAS BRUSH, SPECIAL MASTER
                                  TIMOTHY SCHMIDT, SPECIAL MASTER
19
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21
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1                And when we received the second set of searches

2     from plaintiffs, we made sure that all those searches

3     are conducted in the same way.            And then that would

4     require, you know, the more elaborate and burdensome

5     looking at what we're calling cold storage data.

6                MR. MAO:    So setting aside your decision,

7     Mr. Brush, on the cold storage issue -- which I agree

8     that we do need to address at some point -- can we at

9     least get an exhaustive list of what tools are available

10    to search UMA and just a description?

11               I don't see why getting that list would be

12    inconsistent with moving this forward.             At least we have

13    that for the record.      And, Mr. Brush, we do need that

14    for the record so that plaintiffs have shown that we've

15    demonstrated all due diligence in terms of searching

16    against the available data source.

17               Here, right now, I'm simply asking for a full

18    description of all the different tools that are

19    available to search that.

20               And with that, I'll give it back to you,

21    Mr. McGee.

22               SPECIAL MASTER BRUSH:          Well, I'm going to pause

23    you right there because you have to understand my

24    concern a bit too, that it's -- what's the benefit of

25    that list?    If it's just for the record, I can

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1     appreciate that.      But if this is this something that's

2     going to then be used to derail my process, I'm not

3     going to be thrilled about it.

4                That's my concern, is if we're going to point

5     and say, "What about this?"

6                I mean we have to assume there's a good-faith

7     effort that Google has made some attempts on this in a

8     seemingly significant matter to use the tools identified

9     to search the data in a responsive and productive way.

10               I do agree that it -- you know, greater

11    transparency is always helpful, as long as it's not

12    being used as something to play some "gotcha" games.

13    And if it's something where there's a legitimate

14    concern -- I'm not saying it's not something we can

15    address -- I just want to proceed with caution that if I

16    were to ask that -- order them to do that, that is not

17    something that's going to, again, be used as a kludge in

18    any fashion as a part of the remaining part of the

19    discovery process.

20               MR. MAO:    Right.

21               So, Mr. Brush, it is relevant because it would

22    go to show what Google does -- actually does in the

23    regular course of business, even if you ultimately end

24    up denying searching beyond 8 days.

25               SPECIAL MASTER BRUSH:          Okay.

                                                               Page 27

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1                MR. MAO:     There is an argument, right, on class

2     certification where they are saying something can or

3     cannot be done.       And having an understanding as to tools

4     in which Google has available to it, prior to them

5     trying to make that argument -- because they have

6     already made that argument; right? -- is actually

7     relevant and privy to whether or not Google actually

8     does that in its regular course of business.

9                So we already have on testimony that they have

10    other tools that go beyond the 8 days.              We need a full

11    record of what that list actually is, Special Master.                 I

12    mean, like, that -- we're entitled to that as a matter

13    of discovery.

14               MR. ANSORGE:      So, Mr. Mao --

15               MR. MAO:     Again, right?         That list can come up

16    and you can decide ultimately to not allow a search on

17    that.   Right?    But we're asking for as part of the

18    discovery -- and these are actual written responses that

19    have already been submitted in which Google has not

20    actually provided a full answer on.

21               SPECIAL MASTER BRUSH:           Yes, I understand, but

22    it's also -- you know, the challenges of what I'm

23    hearing -- and forgive me if I'm a little bit cautious

24    with the attorneys on this -- is that it's -- I'm

25    hearing what is being -- what -- in one instance what's

                                                                 Page 28

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1     Mr. Ansorge suggested we move forward, with the

2     caveat -- and Google should be on notice now -- that

3     there is a -- I would almost say a guaranteed likelihood

4     we are going to have to start looking at the historical

5     data as we go through this process, and you start

6     looking at how we're going to do that now.

7                But I could tell you right now, the judge is

8     leaning in favor of that.         She was not -- she felt a bit

9     surprised by the fact of the 8-day window, you know,

10    turned to -- I've been -- quite frankly, both sides

11    could have come up with what I proposed.           It really

12    wasn't that crazy of a solution or that smart.

13               It was just, "Why don't we just do this as we

14    would in any other live database production discovery?"

15               But the reality is that data exists, and it's

16    going to have to be searched.

17               But to move it all forward on the immediate

18    issues, we have to search the live index data right now,

19    with the understanding that the historical data is going

20    to need to be searched, without a doubt.           But we're

21    going to need some of the results from the index data

22    now to help to define that so we're more efficient in

23    that process of the historical data.

24               I mean that's just the reality of the

25    technology.    If it's something you feel you need to go

                                                               Page 61

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1     over my head on, by all means, to the judge, go to --

2     but I mean the reality of the data as it is -- and we're

3     going to have to figure out constructive ways down the

4     road to marry those instances in this timeline in two

5     different tools.      But right now it's we're going to be

6     searching that live data to get results so we can do a

7     better job at the historical data searches.

8                MR. MAO:     Understood, Mr. Brush.           And we

9     especially appreciate it with regard to the historical

10    data, because we agree.

11               SPECIAL MASTER BRUSH:           Yes.     And, again, these

12    are complicated issues.          It's complicated technology.           I

13    think we're all doing our best.             But, you know, let's

14    work a little bit with what we have to do -- what we

15    have in front of us right now because it's going to give

16    us meaningful results that are going to help move the

17    process along in totality.

18               MR. MAO:     Sorry.     Mr. McGee?

19               MR. MCGEE:     I don't really think that I have

20    anything else that I need -- that needs to be addressed,

21    other than the last question that we posed.                And I hope

22    that, Mr. Ansorge, you don't need time to take that back

23    to Google.

24               But, you know, I recall during one of our calls

25    with the Special Master that certain Google employees

                                                                   Page 62

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1     were either on holiday or otherwise unavailable.             So,

2     you know, right now is there anything that impedes

3     Google from complying with the 4-day timeline production

4     as Judge Van Keulen ordered it in her November 12th

5     order?

6                MR. ANSORGE:     Yes.     So, Mr. McGee, it sounds

7     like you're asking me:       If right now you provided us all

8     the searches, would all engineers be able to complete

9     them within 4 days?       And I don't know the answer to

10    that.

11               My expectation is that we have the resources,

12    and we can do it.      It's not going to be the same length

13    of time as the Christmas period.             But, to be frank, four

14    days is a pretty heavy turnaround for a number of

15    different sources.

16               So I can tell you that we're putting our best

17    efforts to it; that we're going to have a number of

18    people working on it, and it's not during the holiday

19    period.    But I'm not sure what else or what other

20    information I can provide to you.

21               One thing that I would like to be clear on is

22    that the 4-day timeline here will also be contingent on

23    the complexity of the search and the source that

24    plaintiffs select.      There's going to be changes.

25               If these are IDs that are typically used that

                                                                Page 63

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1                UNITED STATES DISTRICT COURT NORTHERN
2               DISTRICT OF CALIFORNIA SAN JOSE DIVISION
3
4    CHASOM BROWN, ET. AL,                       )
                                                 )
5                      Plaintiffs,               )
                                                 )
6                vs.                             )
                                                 ) Case No.
7    GOOGLE, LLC,                                ) 20-CV-03664
                                                 )
8                      Defendant.                )
     _________________________________)
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10
11
12
13                        I, NOELLE C. KRAWIEC, OFFICIAL REPORTER
14    PRO TEMPORE OF THE SUPERIOR COURT OF THE STATE OF
15    CALIFORNIA, FOR THE COUNTY OF LOS ANGELES, DO HEREBY
16    CERTIFY THAT THE FOREGOING PAGES, 1 THROUGH 66, COMPRISE
17    A TRUE AND CORRECT TRANSCRIPT OF THE PROCEEDINGS TAKEN
18    IN THE ABOVE-ENTITLED CAUSE ON FEBRUARY 22,
19    2022.
20
21
22                  <%18573,Signature%>                       , CSR 14255
23                  NOELLE C. KRAWIEC
                    OFFICIAL REPORTER PRO TEMPORE
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25

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                              EXHIBIT 2
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1              UNITED STATES DISTRICT COURT NORTHERN
2           DISTRICT OF CALIFORNIA SAN JOSE DIVISION
3    _________________________________
                                                         )
4    CHASOM BROWN, ET. AL,                               )CASE NO.:
                                                         )
5                             Plaintiffs,                )20-CV-03664
                                                         )
6                  v.                                    )
                                                         )
7    GOOGLE, LLC,                                        )
                                                         )
8                             Defendant.                 )
     _________________________________)
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15               REMOTE TRANSCRIPT OF PROCEEDINGS
16                      FRIDAY, FEBRUARY 25, 2022
17                               8:34 A.M.
18
19
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22
23
24   REPORTED BY:          NATALIE PARVIZI-AZAD, CSR, RPR, RSR
                           CSR NO. 14125
25   JOB NO.:              5109907

                                                                      Page 1

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1                   A P P E A R A N C E S
2    FOR THE PLAINTIFF, CHASOM BROWN, ET. AL:
3        MORGAN & MORGAN
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4        201 NORTH FRANKLIN STREET
         7TH FLOOR
5        TAMPA, FLORIDA 33602
6        - AND -
7        BOIES SCHILLER FLEXNER
         BY: MARK MAO, ESQ.
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9        41ST FLOOR
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10
11   FOR THE DEFENDANTS, GOOGLE, LLC:
12       QUINN EMANUEL URQUHART & SULLIVAN
         BY: JOSEF ANSORGE, ESQ.
13       BY: ANDREW SCHAPIRO, ESQ.
         BY: TRACY GAO, ESQ.
14       865 SOUTH FIGUEROA STREET
         10TH FLOOR
15       LOS ANGELES, CALIFORNIA 90017
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1    at, you know, one week before discovery.
2                And, look, I mean, you and I, I think,
3    have a pretty good working relationship.                     I just
4    have to make the argument and I have to make the
5    point that this really should have been produced
6    at the beginning of the case.
7                MR. ANSORGE:         I'm not sure what you're
8    referring to when you say "this."                     But we've
9    identified it as a source.               We're conducting
10   searches as we're looking over it.                     We're looking
11   whether we can pull in some of the other logs that
12   you're identifying here.              Obviously, it requires
13   some -- some factual discovery.                     But for all of
14   these, Mr. Mao, we're happy to work with you.                        And
15   searches are under way for the sources that you've
16   already selected.
17               So I think we have our respective
18   positions.       I don't know if I can say anything
19   else at this point that would be helpful to you or
20   for us to close this process out before the
21   Special Master.         But I think it's clear that
22   nobody is waiving any rights.                 We're just getting
23   together.      And it's, at least from our end, a
24   message of real optimism and hope.                     We're finding
25   the priorities and how to search those.

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1                MR. MAO:      Well, I think it would be
2    helpful if we got proposals from you as to what
3    can be done, given the -- let's just call it --
4    the latter production and identification of these
5    issues.     I just think it'll be helpful,
6    Mr. Ansorge.       And it's an invitation.               It's not
7    a -- I'm not trying to invite argument here.
8    Just, you know, do me a favor and please just
9    think about it.         And --
10               SPECIAL MASTER BRUSH:               Well, my
11   suggestion is, let's get it in writing, let's
12   document it.       It'll behoove both parties if there
13   is an issue.       Let's memorialize it and see if
14   there is a lack of clarity.                Again, let's not
15   always frame everything as if there was some
16   malice or trying to hide things.                    I mean, this is
17   a complicated issue.           There's something that --
18   there's issues in the productions that you have
19   concerns about.         It's likely maybe a technical
20   issue and misunderstanding.                Let's get past that
21   and not let it become a mountain from a mole
22   hill -- or the other way around.                    Whatever.     You
23   know what I'm saying.
24               MR. MAO:      Understood, Mr. Brush.                We will
25   definitely put that in writing.

                                                                 Page 37

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1                MR. ANSORGE:         What --
2                MR. MAO:      Mr. --
3                MR. ANSORGE:         Oh.     Sorry.
4                MR. MAO:      Sorry.        You also asked us if we
5    can help you kind of like streamline kind of like
6    with priorities.         But it sounds like you've
7    already moved some of those along.                  I think we can
8    probably adjust our kind of, like, priorities so
9    that it's a little clearer for you in terms of
10   like what --       I mean, I think we talked about it
11   and it sounds like you kind of understand it's the
12   overlap plus the UMA IDs.               And then also the -- I
13   just want to call it -- I'll call it the thumb
14   down (phonetic) sources.               But I think some of that
15   is going to depend on what your proposal is and
16   what your disclosures may be.                 And I think this
17   has been fruitful.          I don't want to get in an
18   argument over that.          It might just be easier for
19   us to see what evolves over the next few days on
20   those sources.        And we'll try our best to figure
21   it out together.
22               MR. ANSORGE:         Sounds great.
23               MR. MAO:      So, Mr. McGee, anything you
24   want to tackle?
25               MR. MCGEE:       No.       I'm pretty content with

                                                               Page 38

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1              UNITED STATES DISTRICT COURT NORTHERN
2           DISTRICT OF CALIFORNIA SAN JOSE DIVISION
3    _________________________________
                                                         )
4    CHASOM BROWN, ET. AL,                               )CASE NO.:
                                                         )
5                             Plaintiffs,                )20-CV-03664
                                                         )
6                  v.                                    )
                                                         )
7    GOOGLE, LLC,                                        )
                                                         )
8                             Defendant.                 )
     _________________________________)
9
10
11               I, NATALIE PARVIZI-AZAD, OFFICIAL
12   REPORTER PRO TEMPORE OF THE SUPERIOR COURT OF THE
13   STATE OF CALIFORNIA, FOR THE COUNTY OF LOS
14   ANGELES, DO HEREBY CERTIFY THAT I DID CORRECTLY
15   REPORT THE PROCEEDINGS CONTAINED HEREIN AND THAT
16   THE FOREGOING PAGES 1 THROUGH 41 COMPRISE A FULL,
17   TRUE AND CORRECT TRANSCRIPT OF THE PROCEEDINGS AND
18   TESTIMONY TAKEN IN THE MATTER OF THE
19   ABOVE-ENTITLED CAUSE ON FEBRUARY 25, 2022
20               EXECUTED THIS DAY, FEBRUARY 28TH, 2022,
21   AT LOS ANGELES, CALIFORNIA.
22
23
24                 <%21159,Signature%>
25                 NATALIE PARVIZI-AZAD, CSR NO. 14125

                                                                  Page 42

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          EXHIBIT 3
       Redacted Version
     of Document Sought
         to be Sealed
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                   CHASOM BROWN, ET AL. versus GOOGLE, LLC, ET AL.
                               Hearing on 03/05/2022                            ·

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA

 ·3· · · · · · · · ·CASE NO.:· 4:20-03664-YGR-AVK

 ·4
 · ·   ·CHASOM BROWN, MARIA NGUYEN and
 ·5
 · ·   ·WILLIAM BYATT, individually and on
 ·6
 · ·   ·Behalf of all other similarly situated,
 ·7
 · ·   · · · · · Plaintiffs,
 ·8
 · ·   ·versus
 ·9
 · ·   ·GOOGLE, LLC and ALPHABET, INC.,
 10
 · ·   · · · · · Defendants.
 11·   ·_____________________________/

 12

 13· · · · · · ·TRANSCRIPT OF CIVIL CONTEMPT HEARING

 14
 · · ·DATE:· · March 5, 2022
 15
 · · ·PLACE:· ·Remotely via Zoom
 16
 · · ·BEFORE:· Special Master Douglas Brush
 17

 18

 19

 20·   · · ·These proceedings were digitally recorded and the
 · ·   · · · · · · · ·following was transcribed by:
 21
 · ·   · · · · · · · · · · ·Denise D. Wilcox
 22·   · · · · · · · Court Reporter/Transcriptionist

 23·   ·   ·   ·   ·   ·   ·   ·   ·   · · · King Reporting
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   · · ·A Huseby Company
 24·   ·   ·   ·   ·   ·   ·   ·   ·   · 14 Suntree Place, #101
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Melbourne, Florida· 32940
 25·   ·   ·   ·   ·   ·   ·   ·   ·   · · · (321) 242-8080


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                    CHASOM BROWN, ET AL. versus GOOGLE, LLC, ET AL.
                                Hearing on 03/05/2022                       Page 2

 ·1· · · · · · ·A-P-P-E-A-R-A-N-C-E-S

 ·2
 · ·    · · · · · · FOR THE PLAINTIFFS:
 ·3
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 ·5·    ·   ·   ·   · ·New York, New York 10016
 · ·    ·   ·   ·   · · · · ·618-693-3104
 ·6
 · ·    ·   ·   · · · ·MARK C. MAO, ESQUIRE
 ·7·    ·   ·   · Boies, Schiller & Flexner, LLP
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 · ·    ·   ·   · · · · · ·415-293-6800
 ·9

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 · ·    · · · ·Los Angeles, California 90017
 13·    · · · · · · · ·213-443-3000

 14·    · · · · · JOSEF ANSORGE, ESQUIRE
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 15·    · · 1300 L Street Northwest, Suite 900
 · ·    · · · · · Washington, D.C. 20005
 16

 17· · · · · · · · ·ALSO PRESENT:

 18· · ·TRACY GAO, Law Clerk at Quinn, et al
 · · · · · · · · · TIMOTHY SCHMIDT
 19· · · · · · · · ·DAVID STRAITE

 20

 21

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                 CHASOM BROWN, ET AL. versus GOOGLE, LLC, ET AL.
                             Hearing on 03/05/2022                     Page 26

 ·1· · · · So, on the second issue -- I know we kind of
 ·2· ·jumped in and out of that, but if we can recap that
 ·3· ·for the record, Mr. McGee or Mr. Mao?· Let's --
 ·4· ·let's go onto the second issue.
 ·5· · · · MR. McGREE:· Sorry, I'm pulling that up.· My
 ·6· ·apologies.
 ·7· · · · SPECIAL MASTER BRUSH:· All good.
 ·8· · · · MR. MCGREE:· I think they've responded.· We're
 ·9· ·-- we're viewing the response, Special Master
 10· ·Brush, but the second one is that Calhoun, because
 11· ·they had the same -- our -- conduct live searches
 12· ·that we did.· I searched a Chrome Sync log and
 13· ·there was output that was associated with a
 14· ·particular bit.· It was:
 15· ·                                           , and we basically
 16· ·wanted all details about that:· It's role, what the
 17· ·values for the bit mean, how they're assigned, and
 18· ·how those values are used, under what circumstances
 19· ·they're logged.
 20· · · · I will preview.· I have looked at the one-page
 21· ·document.· I pulled it up as soon as I possibly
 22· ·could.· It is a one-page document and I am happy to
 23· ·share it with Special Master Brush, or if Google's
 24· ·counsel wants to send it via the secure method,
 25· ·that apparently is -- that -- excuse me -- that

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       Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 22 of 133

                 CHASOM BROWN, ET AL. versus GOOGLE, LLC, ET AL.
                             Hearing on 03/05/2022                     Page 27

 ·1· ·Google claims is entirely responsive here.· It's a
 ·2· ·page and I think there are one, two, three, four,
 ·3· ·five total paragraphs on the page that they are
 ·4· ·asking us to glean all of the information we're
 ·5· ·asking for here and this document is certainly not
 ·6· ·responsive.
 ·7· · · · It does not respond to the details of our
 ·8· ·request of, again, and let me just be very clear --
 ·9· ·and we'll -- we'll -- if it's okay with the Special
 10· ·Master, I think we can attach this letter in
 11· ·Google's response to the transcript as an exhibit.
 12· ·I think that would be helpful for both the court
 13· ·reporter and the Court, if it has to review this.
 14· · · · What we're asking, again, the purpose of this
 15·                                              bit, what the values
 16· ·mean and what values are available, how they're
 17· ·assigned, how they're used, and when they're
 18· ·logged.
 19· · · · And again, Google points us to a single page,
 20· ·and for the record, it's gookbrown00536949, as
 21· ·apparently entirely responsive to our request, and
 22· ·we don't believe it is.
 23· · · · MS. GAO:· Mr. McGee and Mr. Brush, if I may.
 24· ·We -- we requested -- we received this request only
 25· ·yesterday and we run to our system and pulled our

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 ·1· ·portal -- [indiscernible] -- for this field, which
 ·2· ·is -- [indiscernible] -- information, highly
 ·3· ·confidential.
 ·4· · · · But like the document you referred Mr. Brush
 ·5· ·to, is the document contains in the product comment
 ·6· ·for this field --
 ·7· · · · MR. McGEE:· Right.
 ·8· · · · MS. GAO:· -- I -- yeah, I don't -- like, I
 ·9· ·don't understand what else Plaintiffs need that we
 10· ·haven't provided.
 11· · · · And also, in your December 3rd --
 12· ·[indiscernible] -- deposition notice, there's a
 13· ·topic about this field, and we have scheduled
 14· ·deposition, I believe, on March 10th, in five days,
 15· ·on this exact topic, and I think -- I think at this
 16· ·point, we just cannot continue to endlessly
 17· ·responding to any more discovery requests.
 18· · · · MR. McGEE:· Yeah -- [indiscernible] --
 19· · · · MR. MAO:· It -- it sounds like, if I -- if I
 20· ·can just understand by looking at your response,
 21· ·Ms. Gao, are you saying that this is a field that's
 22· ·basically to tell Chrome that the browser is not in
 23· ·incognito, and therefore, it may be okay for
 24· ·location tracking?
 25· · · · MR. BROOME:· Can I just respond here.· Mr. Mao

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 ·1· ·produced the 100 fields, I think we sat -- there's
 ·2· ·a portion of that that's a little bit of a
 ·3· ·bombshell, which I don't think is necessary in --
 ·4· ·in this current session, but we want to make sure
 ·5· ·that those             types of fields are actually
 ·6· ·produced for all the schema identified.· Right.
 ·7· ·Like, that's what we're trying to figure out,
 ·8· ·because it does go to identifiability and join
 ·9· ·ability.· That's why.· And we -- and in our
 10· ·defense, Special Master, we've laid this out pretty
 11· ·clearly ever since December.
 12· · · · MR. McGEE:· Right.· And Special Master Brush,
 13· ·there's -- there's one or two bits that, you know,
 14· ·we continue to look at and that continue to peak
 15· ·our interests, but they don't fall with this --
 16· ·within this 100, and Google says, "Sorry, it's just
 17· ·going to be too hard."
 18· · · · I -- there's got to be a way to craft a search
 19· ·where we can get -- and where we can get this
 20· ·information.· I mean, it exists on their servers.
 21· ·Just because it's not in the top 100, doesn't mean
 22· ·that we should not be entitled to it.
 23· · · · (Whereupon, there were overlapping speakers.)
 24· · · · SPECIAL MASTER BRUSH:· In the interest of
 25· ·time, we're short now, so what I want to throw this

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                 CHASOM BROWN, ET AL. versus GOOGLE, LLC, ET AL.
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 ·1· ·to is to Google's counsel.· Do you understand
 ·2· ·there's a bit of a dilemma there of we are all
 ·3· ·trying to craft more or refine searches to reduce
 ·4· ·the workload on both Google systems and engineers.
 ·5· · · · What do you propose is the best way to provide
 ·6· ·better insight that allows more targeted searching
 ·7· ·that will aid this.· You know, as opposed -- you
 ·8· ·know, maybe it was my fault for saying --
 ·9· ·[indiscernible] -- produce these top hundred hoping
 10· ·that was going to be enough.· Clearly, we need to
 11· ·refine things.
 12· · · · What would Google recommend, knowing their
 13· ·systems better than anybody else, how we refine
 14· ·some of these searches?
 15· · · · MR. MAO:· So, if there's an option for a
 16· ·specific refinement, the easiest way to do it would
 17· ·be to focus on very specific fields, and I want to
 18· ·be clear that that's different from the
 19· ·categories that Plaintiffs were referring to just
 20· ·now.· I mean, those -- when they state everything
 21· ·that has an IP address, that -- that's not a
 22· ·specific field.
 23· · · · So, if we have a field and an ID, and a time
 24· ·period, those searches, of course, become much more
 25· ·narrow and targeted.· I should add that we've been

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 ·1· ·proceeding so far by just providing, you know, all
 ·2· ·the information that would be keyed to the
 ·3· ·particular ID in that storage.
 ·4· · · · So, this would be smaller and more focused;
 ·5· ·however, what we have been doing so far also covers
 ·6· ·the requirement that Plaintiffs have of some kind
 ·7· ·of an organization or schema, because when they
 ·8· ·received the data, they receive it by the different
 ·9· ·field names that exist for that record, and so it
 10· ·serves double purpose, without having to be
 11· ·sequential and us having to follow one or the
 12· ·other.
 13· · · · So, what we are proposed is maintain the
 14· ·process we have had so far for the searches that
 15· ·are under way for the next iteration of searches
 16· ·that Plaintiffs provide.· If we need a very quick
 17· ·test account search, we narrow it and focus the
 18· ·searches down to ID, URL, specific IP address of
 19· ·the device, and user agent, the key fields that are
 20· ·identified in the complaint.· Following those
 21· ·parameters will make it much more difficult.· It
 22· ·also doesn't run the risk of pulling in any
 23· ·publisher data, so it slows down the entire end of
 24· ·-- or negates the notification process, and that
 25· ·would be our proposal on how to proceed.

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 ·1· ·STATE OF VIRGINIA· ·)

 ·2· ·COUNTY OF ROCKBRIDGE)

 ·3· · · · · · · · ·I, DENISE D. WILCOX, Court Reporter and

 ·4· · · ·Digital Transcriptionist, do hereby certify that I

 ·5· · · ·was authorized to and did transcribe the foregoing

 ·6· · · ·proceeding from a digital audio recording, Brown v,

 ·7· · · ·Google, and pages 1-111 of the transcript are a

 ·8· · · ·true and correct record of the proceeding to the

 ·9· · · ·best of my ability.

 10

 11· · · · · · · · ·DONE AND DATED this 8th day of March,

 12· · · ·2022, at Goshen, Rockbridge County, Virginia.

 13

 14· · · · · · · · · · · · · · __________________________

 15· · · · · · · · · · · · · · DENISE D. WILCOX
 · · · · · · · · · · · · · · · Court Reporter &
 16· · · · · · · · · · · · · · Digital Transcriptionist

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          EXHIBIT 4
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Geoffrey Grundy

From:                Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                Monday, November 22, 2021 7:50 PM
To:                  Tracy Gao; QE Brown; Douglas Brush
Subject:             Re Brown v. Google LLC (N.D. Cal. Case No. 20-cv-03664) - Confidential


                                [EXTERNAL EMAIL from timothy.schmidt@accelconsulting.llc]


       Ms. Gao, et. al.,

       Thank you for putting together the materials you provided last week. We have reviewed the contents of the
       various packages you provided. In order for us to effectively review the documents, we are associating items to
       the Order’s Exhibit 1 based upon the section and where applicable, one or more numbered items within that
       section.

       Our evaluation of the results provided us for content and compliance with the Order follows:
          1. Section 1 (searched data sources listing, search dates, bates ranges) – The Special Master finds that the
              document provided, 2021‐11‐18 Brown Omnibus Sheet.xlsx (Tab 1) satisfies the Order’s requirements.
          2. Section 1 (declaration) – The Special Master finds that the documents found within the file,
              11.18.2021.zip (contains files: 2021‐11‐18 Declaration [dckt 338_0].pdf, Brown ‐ Exhibit A ‐ REDACTED
              COPY.pdf, Brown ‐ Exhibit A ‐ UNREDACTED COPY.pdf, Brown ‐ Exhibit B ‐ REDACTED COPY.pdf, and
              Brown ‐ Exhibit B ‐ UNREDACTED COPY.pdf) satisfy the Order’s requirements.
          3. Section 2 – The Special Master finds that the document provided, 2021‐11‐18 Brown Omnibus Sheet.xlsx
              (Tab 2) satisfies the Order’s requirements.
          4. Section 3, Number 1‐7 – The Special Master finds that the information found in Tabs 2 and 3.1‐3.7,
              2021‐11‐18 Brown Omnibus Sheet.xlsx, 2021‐11‐18 Brown & Calhoun ‐ Special Master Submission in
              Response to Nov. 12 Order.pdf, and 2021‐11‐18 Documentation on Data Sources and Tools.pdf will
              satisfy the Order’s requirements once Google confirms that ALL field names and descriptions have been
              provided for all data sources described in Section 3, Number 1‐7 of Exhibit 1 of the Order. If ALL field
              names and their descriptions have not been provided for the relevant data sources, they will need to be
              provided to the Special Master and confirmed to have been provided in full to the Special Master by
              November 23, 2021.
          5. Section 3, Number 8 – While the Special Master has been provided the names of the data sources and
              tools used to carry out searches on the data sources searched before November 12, 2021 that are
              outside of those identified in Section 3, Numbers 1‐7, the Special Master has not been able to find that
              the remaining information ordered has been provided in full, specifically, schemas, field names, and
              field descriptions for the data sources previously searched for the Brown case excepting those identified
              in Section 3, Number 1‐7. This information, including Schema, list of all fields, description of each field
              must be provided to the Special Master by November 23, 2021.
          6. Section 4, Number 1 – The Special Master assumes that previous records provided from searches of data
              sources identified here have been provided to Plaintiffs. Google will confirm to the Special Master that
              Productions listed on Tab 1, "Bates Range" field in 2021‐11‐18 Brown Omnibus Sheet.xlsx contained full
              records rather than incomplete records. If this is not the case, and full records were not provided as part
              of the relevant productions, Google will produce full records to the Special Master for produced search
              term hits by November 23, 2021.

       Plaintiffs have provided the following input with regards to their required tasks:
           1. Section 3, Number 9 – Plaintiffs have requested, and the Special Master has approved their request for
                lists of all fields, descriptions of all fields in all data sources not included in Section 3, Numbers 1‐8 that
                                                               1
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                       have not yet been searched. Also approved is the request for lists of tools (including instructions) used
                       to search all these data sources. The Special Master, in the interest of efficiency, is not approving, at this
                       time. The Special Master reserves the right at any time to require Google provide schemas for any or all
                       potentially relevant data sources to the Plaintiffs. As additional data sources not previously disclosed to
                       the Special Master were identified in Google’s disclosure, Google will be required to add these data
                       sources to those included in Section 3, Number 9. These data sources are as follows:
                               i.
                              ii.
                            iii.
                            iv.
                              v.
                            vi.
                           vii.
                          viii.
                             ix.
                              x.
                             xi.
                            xii.
                           xiii.
                           xiv.
                            xv.
                           xvi.
                          xvii.
                         xviii.
                           xix.

We are providing you with access to the relevant information referenced in the above email via the following ShareFile
folder accessible only to Ms. Gao. You will receive a ShareFile notification shortly.

We will provide Google and Plaintiffs a full listing of data sources for which Google will provide the List of fields and their
descriptions as well as the Tools used for searching each data source and the requisite instructions for the Order’s
Exhibit 1, Section 3, Numbers 8 and 9. For those data sources Google has already provided the previously mentioned
information, Google need not provide it a second time.

Section 3, Number 9 Plaintiff’s task has been completed. Google is required to provide lists of all fields, and descriptions
of all fields in all data sources not included in Section 3, Numbers 1‐8 that have not yet been searched by 11/29/2021.

Thank you,
Tim Schmidt


Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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                                                                                                     WRITER'S EMAIL ADDRESS
                                                                                            josefansorge@quinnemanuel.com




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December 1, 2021


VIA E-MAIL

Special Master Douglas Brush
(douglas.brush@accelconsulting.llc)
Accel Consulting, LLC

Timothy Schmidt
(timothy.schmidt@accelconsulting.llc)
Accel Consulting, LLC


       Re:    Google’s Submissions in Response to November 12 Order Adopting in Part and
       Modifying in Part the Special Master’s Report and Orders on Referred Discovery Issues
       Dkt. 377, Calhoun v. Google LLC, Case No. 5:20-cv-05146-LHK-SVK (N.D. Cal.) and
       Dkt. 331, Brown v. Google LLC, Case No. 5:20-cv-03664-LHK-SVK (N.D. Cal.)

Dear Special Master Brush, Mr. Schmidt:

       Thank you for the productive meeting on November 24 regarding Google’s submissions in
response to the Court’s November 12 Order Adopting in Part and Modifying in Part the Special
Master’s Report and Orders on Referred Discovery Issues in Brown v. Google (Dkt. 331) and
Calhoun v. Google (Dkt. 377). Google is hereby providing additional information as requested at
the meeting.

       Brown v. Google

        Along with this letter, we are providing field names for the largest 100 fields for all the
additional          logs as described in Section 3, Numbers 8-9 of the Order ( logs in total),
aside from the following logs:




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     MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY |
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       •                                 : There is no recent data in this log. Therefore, the tool
           Google uses to pull the field names, i.e. the Schema View on               , has nothing
           to study in order to return the field names.

       •                                                  : same as above.

       •                                                                   : same as above.

       Calhoun v. Google

        Along with this letter, we are providing search results for the
as required under Section 6 of the Order, and field names for the largest 100 fields for all the
additional          logs described in Section 3, Numbers 2-5 of the Order (      logs in total),
aside from the following logs:

       •                        : This is a collection of logs, not a log itself. The logs in the
           collection are                                 ,                          , and
                                 . We are providing field names for those logs along with this
           letter.

       •                                          : There is no recent data in this log. Therefore, the
           tool Google uses to pull the field names, i.e. the Schema View on                     , has
           nothing to study in order to return the field names.

       •                                 : same as above.

       •                                           : same as above.

       •                                                  : same as above.

       •                                                            : same as above.

       •                                                                   : same as above.

       Please do not hesitate to contact us if you have any questions or require additional
information.


Respectfully,

QUINN EMANUEL URQUHART & SULLIVAN, LLP




Josef Ansorge


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         EXHIBIT 6
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                                                                                            josefansorge@quinnemanuel.com




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December 8, 2021


VIA E-MAIL

Special Master Douglas Brush
(douglas.brush@accelconsulting.llc)
Accel Consulting, LLC

Timothy Schmidt
(timothy.schmidt@accelconsulting.llc)
Accel Consulting, LLC


       Re:    Google’s Submissions in Response to November 12 Order Adopting in Part and
       Modifying in Part the Special Master’s Report and Orders on Referred Discovery Issues
       Dkt. 377, Calhoun v. Google LLC, Case No. 5:20-cv-05146-LHK-SVK (N.D. Cal.) and
       Dkt. 331, Brown v. Google LLC, Case No. 5:20-cv-03664-LHK-SVK (N.D. Cal.)

Dear Special Master Brush, Mr. Schmidt:

       Thank you for your December 7 email regarding Google’s submissions in response to the
Court’s November 12 Order Adopting in Part and Modifying in Part the Special Master’s Report
and Orders on Referred Discovery Issues in Brown v. Google (Dkt. 331) and Calhoun v. Google
(Dkt. 377). Google is hereby providing additional information as requested in the email.

       Brown v. Google

       In response to A1-A5 from the December 7 email, Google is hereby providing additional
information regarding the five data sources in the spreadsheet titled “2021-12-08 Brown - Special
Master Submission” along with this letter. Among these sources,
and                                                 draw on existing tooling Google has to look up
consent, provide TakeOut data, and respond to law enforcement requests. The tooling can only be



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utilized to search data with Google Account information, and is categorically different from the
other data sources Google has identified that may contain data relevant to this case.

        In response to number D from the December 7 email and based on a reasonable
investigation, Google hereby confirms that the fields identified reflect all fields for the
corresponding data sources, with the exception of (1) the fields for           logs that Google
provided on December 1, 2021, and (2) the fields for certain         Corpora that were included
in the produced data. As communicated earlier, including at the November 24 conference, the
December 1 submission contains the top 100 fields by size for the            logs pulled through
Google’s automated tool                   . As to the          Corpora where Google pointed to
the produced data, fields included in the data were determined by the user’s activity. Therefore,
only relevant fields were included.

       Calhoun v. Google

       In response to number A1 from the December 7 email, Google is hereby providing a
searchable PDF of document GOOG-CALH-00039102 along with this letter.

       In response to numbers A2-A4 from the December 7 email, Google is hereby providing
additional information regarding the three data sources in the spreadsheet titled “2021-12-08
Calhoun - Special Master Submission” along with this letter. Among these sources,
                           and                                                  draw on existing
tooling Google has to look up consent, provide TakeOut data, and respond to law enforcement
requests. The tooling can only be utilized to search data with Google Account information, and is
categorically different from the other data sources Google has identified that may contain data
relevant to this case.

        In response to number D from the December 7 email and based on a reasonable
investigation, Google hereby confirms that the fields identified reflect all fields for the
corresponding data sources, with the exception of (1) the fields for           logs that Google
provided on December 1, 2021, and (2) the fields for certain         Corpora that were included
in the produced data. As communicated earlier, including at the November 24 conference, the
December 1 submission contains the top 100 fields by size for the           logs pulled through
Google’s automated tool                   . As to the          Corpora where Google pointed to
the produced data, fields included in the data were determined by the user’s activity. Therefore,
only relevant fields were included.

       Please do not hesitate to contact us if you have any questions or require additional
information.


Respectfully,

QUINN EMANUEL URQUHART & SULLIVAN, LLP




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Josef Ansorge




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         EXHIBIT 7
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Geoffrey Grundy

From:                         Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                         Thursday, December 9, 2021 2:51 PM
To:                           Tracy Gao; Josef Ansorge
Cc:                           QE Brown; QE Calhoun; Douglas Brush
Subject:                      Re: Brown & Calhoun - Special Master Submission - Confidential


                                               [EXTERNAL EMAIL from timothy.schmidt@accelconsulting.llc]


Ms. Gao, Mr. Ansorge,

We are in receipt of your email, and we have downloaded and reviewed the information you provided with respect to
the outstanding Section 3 items for Brown and Calhoun. We understand that the undertaking of efforts to pull this
information in such a short period of time has been tremendous and we thank you again for your hard work and
continued cooperation in moving forward with the process.

We will be providing the relevant information to each of the parties so that they can begin their selection processes and
provide you their choices in the very near future:

Brown – will be providing the following by close of business EST, Friday, December 10, 2021:
   1. The names of data sources that will be searched from the list of in addition to the                                                              data sources
       called out in Section 3, main paragraph,
   2. Search terms for each of the data sources that will be searched.

Calhoun – will be providing the names of any additional data sources that meet the criteria of Section 3, number 6 by no
later than close of business EST, Tuesday, December 14, 2021; the delay here is due to one of the Calhoun Plaintiff’s
experts having to respond to a family emergency, for which they have been granted an extension.

Special Master Brush would like to remind you that the requirement for Google to provide field definitions and schemas
for all data sources was only temporarily suspended to expedite matters and should the Special Master determine that it
becomes necessary, you are still under orders to provide these elements for any or all potentially relevant data sources
based on his discretion.

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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           From: Tracy Gao <tracygao@quinnemanuel.com>
           Date: Wednesday, December 8, 2021 at 6:13 PM

                                                                                        1
       Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 40 of 133

To: Douglas Brush <douglas.brush@accelconsulting.llc>, Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>
Cc: QE Brown <qebrown@quinnemanuel.com>, QE Calhoun <qecalhoun@quinnemanuel.com>
Subject: Brown & Calhoun ‐ Special Master Submission

Dear Special Master Brush, Mr. Schmidt:

Below please find a SendFile link to Google’s letter and submission in response to Mr. Schmidt’s December 7
email regarding Google’s submission pursuant Magistrate Judge van Keulen’s November 12, 2021 Order issued
in Brown v. Google (Dkt. 331) and Calhoun v. Googe (Dkt. 377).

https://sendfile.quinnemanuel.com/pkg?token=5698dd91-c112-45ef-a24b-1c0b7a33da95

I’ll send password under separate cover.

Respectfully,
Tracy

Tracy Gao
Quinn Emanuel Urquhart & Sullivan, LLP

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                                                  2
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                 EXHIBIT 8
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Geoffrey Grundy

From:                Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                Friday, December 10, 2021 1:50 PM
To:                  Mark C. Mao; Douglas Brush
Cc:                  QE Brown; Google Team
Subject:             Re: Re Brown v. Google LLC (N.D. Cal. Case No. 20-cv-03664) - re 11/12/21 Order


                                [EXTERNAL EMAIL from timothy.schmidt@accelconsulting.llc]


Mr. Mao, et. al.,

Thank you for your correspondence of yesterday. Special Master Brush has thoughtfully reviewed your comments and
concerns.

First Issue:
The Special Master appreciates your interest in moving the process forward as quickly as possible. In that light, we are
pleased that Google has now provided Plaintiffs with field names for the potentially relevant data sources where
possible. We will now be able to move forward with Plaintiffs’ selections of additional data sources and search terms
which Google will begin searching in the very near future.

Second Issue:
After reviewing a large portion/sample of the field names associated with the potentially relevant data sources
identified for the matter, the Special Master has determined that it is possible to decide on the context and probable
contents of most fields that Defendant has provided.

As the context is discernable within the field names that have been supplied to Plaintiffs by Google, at this time, the
Special Master is not going to require Defendant to provide more field descriptions than have already been provided for
Section 3 processes.

The Special Master makes this determination in line with the Order issued by Magistrate van Keulen on November 12,
2021 (Dkt 331), paying note to pg5, beginning at line 7, “as the Court has noted in recent months and again at the
hearing on November 4, discovery is bounded both by the Federal Rules and by case management deadlines. The
requests for production from Google must and will come to an end as provided for in Exhibit 1.”

And pg. 5, beginning at line 25, “Pursuant to Rule 53(c)(1)(B), the Special Master is authorized to take all appropriate
measures to perform his duties fairly and efficiently and to enforce this Order as he deems appropriate including
modifying this Order, issuing further orders, convening conferences of the Parties, and recommending sanctions or
otherwise seeking the assistance of this Court.”

Third Issue:
In line with the Order issued by Magistrate van Keulen on November 12, 2021 (Dkt 331), paying note to pg5, beginning
at line 7, “as the Court has noted in recent months and again at the hearing on November 4, discovery is bounded both
by the Federal Rules and by case management deadlines. The requests for production from Google must and will come
to an end as provided for in Exhibit 1.”

And pg. 5, beginning at line 25, “Pursuant to Rule 53(c)(1)(B), the Special Master is authorized to take all appropriate
measures to perform his duties fairly and efficiently and to enforce this Order as he deems appropriate including
modifying this Order, issuing further orders, convening conferences of the Parties, and recommending sanctions or

                                                             1
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otherwise seeking the assistance of this Court”, the Special Master temporarily modified the field listing requirement to
include the lesser of 100 fields or all of the fields in each data source.

The modification was made to assure that no fields not provided would contain any information relevant to the matter
at hand. Further, the Special Master will require Google to attest that the fields not included in the list for any data
source for which they were provided do not contain any information relevant to the matter at hand. Google will further
attest that it has provided information about the tools, instruction sets and manuals that are used for searching the
relevant data sources as well as a one‐to‐one linkage between each data source and those tools, instruction sets and
manuals used for searching those data sources.

Fourth Issue:
Special Master Brush has taken into account delays and extensions which have occurred up to this point in modifying
scheduling deadlines for inputs from Plaintiffs and Google. Special Master Brush is equally committed to moving this
process forward and ensuring that all Parties have time to complete their responsibilities. Special Master Brush has, is,
and will continue to thoughtfully and equitably consider reasons for delays and requests for extensions from all Parties
involved in this matter.

Special Master Brush and I will review the need for a Joint call (Brown and Calhoun matters will be held separately) to
catch up and discuss go‐forward processes. We will advise early next week.

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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           From: "Mark C. Mao" <mmao@BSFLLP.com>
           Date: Thursday, December 9, 2021 at 2:55 PM
           To: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, Douglas Brush
           <douglas.brush@accelconsulting.llc>
           Cc: QE Brown <qebrown@quinnemanuel.com>, Google Team
           <googleteam@lists.susmangodfrey.com>
           Subject: Re Brown v. Google LLC (N.D. Cal. Case No. 20‐cv‐03664) ‐ re 11/12/21 Order

           Dear Special Master Brush and Mr. Schmidt:

           Thank you for facilitating this process. On behalf of the Brown Plaintiffs, I am writing to raise certain issues and
           concerns for your consideration.

           First, without intending to criticize your efforts in any way, the Brown Plaintiffs are concerned regarding how
           long Google is taking to provide the information required by the November 12 Order. Google’s delay is
           prejudicial to the Brown Plaintiffs given the January 22 discovery cutoff. We appreciate your efforts and,
           without waiving and preserving all objections, Plaintiffs are eager to proceed with at least some searches as
           soon as possible.

                                                                                        2
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Second, it appears that the materials recently provided by Google only include field names without providing
field descriptions. The Brown Plaintiffs had proposed that Google initially provide only field names, to move this
forward quickly, but (as you know) field descriptions are important in terms of constructing searches and
required by the November 12 Order. We would appreciate an update in terms of when those field descriptions
will be provided.

To propose searches, the Brown Plaintiffs need without limitation descriptions for any and all fields that may
contain HTTP header information (i.e., where fields contain information concerning the X‐Client‐Data header,
which may either be contained as a part of the field or as a field by itself), IP addresses, user agents, and other
identifiers (e.g., cookie and IDs, such as Biscottis and PPIDs). Has Google provided this information? If so, it
does not appear that we have received it. While Plaintiffs are eager to get searches going, and are willing to
allow for more time for compliance on the other fields (and again without waiving their objections to Google’s
failed compliance), the field descriptions are critical to meaningful searches.

Third, before the Brown Plaintiffs provide search terms, we would also like (a) Google’s confirmation that it has
fully provided all fields in the sources identified, in addition to (b) confirmation that it has provided all tools
available to Google to search such sources, along with the instruction sets and manuals. It is unclear what
happened to these components as part of Steps 2 and 3 from the November 12 Order.

Fourth, to the extent that any of Google’s delays result in the Brown Plaintiffs needing additional searches later
on, or potentially more time to complete discovery on such issues, we respectfully request that you consider
these delays for your recommendations, including any request by the Brown Plaintiffs for extensions on the
discovery deadline. We are committed to moving this forward, and we just want to ensure that we have time to
complete this process.

If appropriate and helpful, the Brown Plaintiffs would be available for a joint conference on this tomorrow with
you and counsel for Google.

We understand that you are eager to get the search process for Step 4 going, and so are we. We too would
prefer and stand ready to provide our search requests as soon as Google completes what was ordered for Steps
2 and 3. Still, we respectfully need to preserve and stand on our objections to Google’s delays, while hoping
that you will consider the Brown Plaintiffs’ needs for appropriate adjustments as well while we move forward
with interim solutions.

Thank you in advance.

Mark C. Mao
(He/him/his)
Partner

BOIES SCHILLER FLEXNER LLP
44 Montgomery Street, 41st Floor
San Francisco, CA 94104
(t) 415 293 6858
(c) 415 999 9695
mmao@bsfllp.com


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08201831BSF]




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         EXHIBIT 9
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Geoffrey Grundy

From:                 Mark C. Mao <mmao@BSFLLP.com>
Sent:                 Wednesday, December 15, 2021 5:09 PM
To:                   Timothy Schmidt; QE Brown; googleteam@lists.susmangodfrey.com
Cc:                   Douglas Brush
Subject:              RE: Brown v. Google LLC (N.D. Cal. Case No. 20-cv-03664) - Confidential


                                          [EXTERNAL EMAIL from mmao@bsfllp.com]


Counsel,

Thank you for the conference today.

First, we appreciate your willingness to provide information about the cafe.adinteractionlog that Google used as part of
its mid‐2020 Incognito detection analyses. Can you also please confirm that Google will identify all other log sources that
Google used for these analysis, including the other “log sources” that Bert Leung was alluding to in this document:
GOOG‐CABR‐05280756. In addition, the other two sources that Plaintiffs now request information about are:

                            in         containing the PPID to Biscotti mapping table. See GOOG‐CABR‐04430332
        (“When we receive the PPID, we use                    key to find the mapped Biscotti id, or create a new one if
        no mapping exists, in the                         table.”).
                                              . See GOOG‐CABR‐03823750 (
                                ).

Second, we request that you specify which logs Google identified, are used for both display and search ads. For such
logs, we would like to know if the fields for the search side have been removed.

Third, we are asking for descriptions for the following six types of fields:

       IP addresses (e.g.                ,              ,              ,              ,                   ,
                                  ,         and            ) – the description should include at minimum who the IP
        addresses belong to (e.g., is this the IP address of the end user or Google’s server‐side IP address);
       HTTP headers – the description should include at minimum whether the X‐Client‐Data Header (whether in
        whole or in part) is included or part of the stored header;
       User agent strings – the description should include at minimum whether the string is in part or in full;
       Identifier fields (e.g. IDs and cookies) – the description should include at minimum what kind of identifiers are
        stored, so that plaintiffs would know what kind of identifiers can be used to search against the source;
       Time‐related data fields (e.g.                        ,                     ,                        ,
                             , and             ) – the description should include at minimum what the time stamp is for;
       Fields containing URLs – the description should include at minimum what portions of the page URL is stored.

We thank you in advance.

From: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent: Wednesday, December 15, 2021 12:46 PM
To: Mark C. Mao <mmao@BSFLLP.com>; QE Brown <qebrown@quinnemanuel.com>;
googleteam@lists.susmangodfrey.com

                                                               1
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Cc: Douglas Brush <douglas.brush@accelconsulting.llc>
Subject: Re: Brown v. Google LLC (N.D. Cal. Case No. 20‐cv‐03664) ‐ Confidential


CAUTION: External email. Please do not respond to or click on links/attachments unless you recognize the sender.




Mr. Mao,

Absolutely I will set him up. If there are others from your team who would wish for access, please ping me and I will be
happy to oblige.

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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           From: "Mark C. Mao" <mmao@BSFLLP.com>
           Date: Wednesday, December 15, 2021 at 3:44 PM
           To: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, QE Brown
           <qebrown@quinnemanuel.com>, "googleteam@lists.susmangodfrey.com"
           <googleteam@lists.susmangodfrey.com>
           Cc: Douglas Brush <douglas.brush@accelconsulting.llc>
           Subject: RE: Brown v. Google LLC (N.D. Cal. Case No. 20‐cv‐03664) ‐ Confidential

           Mr. Schmidt – I have a small administrative request. Going forward, can you also add Mr. Frawley to your
           fileshare? (Alex Frawley <AFrawley@susmangodfrey.com>) Thank you very much in advance, and I am
           indebted for the trouble.

           From: owner‐googleteam@lists.susmangodfrey.com <owner‐googleteam@lists.susmangodfrey.com> On Behalf
           Of Timothy Schmidt
           Sent: Wednesday, December 15, 2021 12:34 PM
           To: QE Brown <qebrown@quinnemanuel.com>; googleteam@lists.susmangodfrey.com
           Cc: Douglas Brush <douglas.brush@accelconsulting.llc>
           Subject: Brown v. Google LLC (N.D. Cal. Case No. 20‐cv‐03664) ‐ Confidential

           Ms. Truong, Mr. Ansorge,

           We have uploaded the data source list, search term criteria, and search terms for the first round of searches for
           Exhibit one for Brown, et. al. v. Google to our ShareFile system. You will find the information in the Brown v.
           Google\To Google\20211215 folder in a file named: “Brown v. Google LLC (N.D. Cal. Case No. 20‐cv‐03664) –
           Confidential.xlsx”. The searches are to follow “OR” logic for the terms listed for each data source. Please kick off
           searches and provide results prior to COB EST, Monday, December 20, 2021.
                                                                                        2
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           For the Plaintiffs, we have placed the information file in the following location on your instance of our ShareFile
           system: Brown v. Google\To Brown\20211215 in a file of the same name as the one provided to Google.

           Thank you,
           Tim Schmidt

           Timothy Schmidt
           Consultant
           M 202.577.5302
           E timothy.schmidt@accelconsulting.llc

           Accel Consulting LLC
           BOULDER, CO 80301

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         EXHIBIT 10
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      quinn emanuel            trial lawyers | washington, dc
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                                                                                                      WRITER'S EMAIL ADDRESS
                                                                                             josefansorge@quinnemanuel.com




December 15, 2021


HIGHLY CONFIDENTIAL - SPECIAL MASTER AND ATTORNEY’S EYES ONLY

VIA E-MAIL

 Special Master Douglas Brush
 (douglas.brush@accelconsulting.llc)
 Accel Consulting, LLC

 Timothy Schmidt
 (timothy.schmidt@accelconsulting.llc)
 Accel Consulting, LLC


Re:     Google’s Submissions in Response to November 12 Order Adopting in Part and
        Modifying in Part the Special Master’s Report and Orders on Referred Discovery Issues
        Dkt. 377, Calhoun v. Google LLC, Case No. 5:20-cv-05146-LHK-SVK (N.D. Cal.) and
        Dkt. 331, Brown v. Google LLC, Case No. 5:20-cv-03664-LHK-SVK (N.D. Cal.)

Dear Special Master Brush, Mr. Schmidt:


        Google is hereby providing additional information requested during today’s discovery process
status updates in Brown v. Google and Calhoun v. Google.


        Brown v. Google


        In response to Plaintiffs’ request made today for additional information related to
                     , Google has used its                 tool to compile the top 100 fields by size
for                     . Google has loaded a spreadsheet [                             ] containing
those field names to the following sendfile:

https://sendfile.quinnemanuel.com?p=9339ae52-65af-4ee1-9ae9-b6d0a16f0f33


      quinn emanuel urquhart & sullivan, llp
      ATLANTA | AUSTIN | BOSTON | BRUSSELS | CHICAGO | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM | MIAMI |
      MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY |
      STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | ZURICH
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         Separately, we are in receipt of the search terms Mr. Schmidt sent today for Brown v. Google.
The search terms appear to contain new cookie values that are being provided for the first time in this
litigation. Before Google searches for data associated with these cookies, we respectfully request
confirmation that these new cookie values all come from the browsers of Plaintiffs who have provided
a consent notification to Google authorizing it to search for and produce any associated data.


       Calhoun v. Google


       In response to Plaintiffs’ and the Special Master’s request made today for additional
information related to         , Google has identified the following responsive documents produced
by Google in this matter.

•      GOOG-CABR-03644400 - Chrome Metrics Keyed by GAIA ID
•      GOOG-CABR-04735687 -           Data Ingestion from Chrome Sync
•      GOOG-CABR-04476804 -           Definition of Internal Analysis
•      GOOG-CABR-04476632 -           Access Best Practices
•      GOOG-CABR-04702145 -           - Data Minimization Principles
•      GOOG-CABR-04698271 - Obscured Tables in
•      GOOG-CALH-00031005 - Chrome_Data_in_             _-_Chrome_Analysis.pdf
•      GOOG-CALH-00031010 - Chrome_Metrics_Keyed_by_Gaia_ID_-
       _from_       _perspective
•      GOOG-CALH-00031286 -
       Chrome_in_        _DWH__Product___Platform_duality.docx
•      GOOG-CALH-00547767 -           Devices
•      GOOG-CABR-05326721 -           Access Best Practices

      Google has loaded a zipfile [“GG8083RL_PDF Export_20211215.zip”] containing these
documents to the following sendfile:


       https://sendfile.quinnemanuel.com?p=9339ae52-65af-4ee1-9ae9-b6d0a16f0f33


       In addition to these efforts, we are meeting with engineers to understand the options for, and
burdens associated with, querying additional data in           . Please do not hesitate to contact us if
you have any questions or require additional information.

Respectfully,

QUINN EMANUEL URQUHART & SULLIVAN, LLP




Josef Ansorge
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Geoffrey Grundy

From:                         Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                         Tuesday, December 21, 2021 8:03 AM
To:                           Josef Ansorge; QE Brown
Cc:                           Mark C. Mao; googleteam@lists.susmangodfrey.com; Douglas Brush
Subject:                      Brown v. Google LLC (N.D. Cal. Case No. 20-cv-03664) - Confidential


                                               [EXTERNAL EMAIL from timothy.schmidt@accelconsulting.llc]


Mr. Ansorge, et. al.,

Special Master Brush has approved the inclusion of                        as a potentially relevant data source for which
Brown Plaintiffs may request searches be performed. This decision is primarily based on Google providing additional
information concerning that data source only around Thanksgiving and testimony provided in the recent deposition of
Mr. Liao. Additionally, Brown Plaintiffs may search this data source in addition to the data sources indicated in
Exhibit 1 under the terms of Section 4, number 5. Seeing that Google has provided field names for this data source, the
Special Master has asked the Brown Plaintiffs to provide search terms for                        within two days (COB
EST, December 23, 2021).

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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                                                                                                                   Ryan J. McGee
                                                                                                                         Attorney
                                                                                                      rmcgee@forthepeople.com
                                                                                                          Direct: (813) 223-0931

                                                               March 4, 2022

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Via Email

      Mr. Josef Ansorge
      JosefAnsorge@quinnemanuel.com
      Quinn Emanuel

      Special Master Douglas Brush
      Douglas.Brush@accelconsulting.llc
      Accel Consulting, LLC

      Mr. Timothy Schmidt
      Timothy.Schmidt@accelconsulting.llc
      Accel Consulting, LLC

Re:       Brown v. Google LLC, No. 5:20-cv-03664-YGR-SVK (N.D. Cal.)
          Follow Up to March 4, 2022 Live Searches

Dear Special Master Brush,

       Thank you for facilitating the 30 minutes of real-time searches conducted today. The
Brown Plaintiffs write to propose a schedule for next steps and, by this letter, invite Google to
prepare a joint update for the Special Master.

       First, from demonstrations today, we ask that Google complete searches of the           logs
(                     ;                                  ; and                              ) using
the              PPID-mapped-Biscottis      (                       ,                              ,
                        ) provided during the demo and provide a full output of the results, query,
and any debugging output associated with the query, including for the PPID search.

          Google’s Response:

       Pursuant to Special Master Brush’s request during yesterday’s conference, Google has
produced all the results for the live    log searches conducted yesterday. See Google’s March
4 submission titled “2022-03-04 Brown v. Google - Live          Queries.”

        Second, during the Calhoun live search of the Chrome Sync log, an output associated with
the bit “is_chrome_non_incognito_mode” was observed. Mr. Ansorge stated he was not familiar
                             ForThePeople.com |        201 N. Franklin St., 7th Floor, Tampa, FL 33602 |     813.223.5505


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                                                    SC, SD, TN, TX, UT, VT, VA, WA, WV, WI, WY
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with this bit. The Brown Plaintiffs request that Google immediately provide information regarding
this bit, including its purpose, the values for this bit, how those values are assigned, how those
values are used, and under what circumstances those values are logged.

          Google’s Response:

      The                                                                field appears in at least 17 files of Plaintiff data
Google has produced, including:

          GOOG-BRWN-00840713
          GOOG-BRWN-00840714
          GOOG-BRWN-00840715
          GOOG-BRWN-00845762
          GOOG-BRWN-00845763
          GOOG-BRWN-00845764
          GOOG-BRWN-00845765
          GOOG-BRWN-00845766
          GOOG-BRWN-00845767
          GOOG-BRWN-00845768
          GOOG-BRWN-00845769
          GOOG-BRWN-00845770
          GOOG-BRWN-00845771
          GOOG-BRWN-00845772
          GOOG-BRWN-00845773
          GOOG-BRWN-00845774
          GOOG-BRWN-00845776

          Below is the proto comment for this field:

          // True if the event originates from Chrome in non-Incognito mode.
          // See go/chrome-incognito-logging-for-location for more details.

The hyperlink of go/chrome-incognito-logging-for-location links to GOOG-BRWN-00536949,
which was produced to Plaintiffs in September 2021.

          Third, the following (non-exhaustive) requests remain outstanding:

     1. During the March 2d call, Mr. Schumann identified that the selection for Chrome UMA
        upload is controlled by a Finch variation. That same day we submitted variation IDs and
        asked Google to identify which variation ID corresponds to selection for Chrome UMA
        upload. We have also asked Google to confirm that UMA data is deleted on the browser
        side after UMA data is uploaded to Google, as well as a confirmation whether there is a
        variation ID below included within the X-Client-Data header indicating whether the
        Chrome instance has been selected for UMA upload:


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                                                    SC, SD, TN, TX, UT, VT, VA, WA, WV, WI, WY
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          Google’s Response:

       This request is outside the scope of Special Master’s order and request. Google will not
respond to these additional discovery requests unless the Special Master orders us to do so.

     2. The Brown Plaintiffs request again schema files for the        logs containing the Incognito
        bit as well as upstream logs and sources. The Brown Plaintiffs also request again the full
        schema files for all of the identified logs in the Special Master process. Google engineers
        have indicated that all data schemas are within proto files. Our understanding is that the
        Calhoun team received in writing much more schema than the Brown Plaintiffs, in addition
        to a fuller explanation. We request a similar explanation for the logs that we have requested
        to be searched in the Second Iterative Search.

          Google’s Response:

          First, Google produced the top 100 fields by size for the                logs from which the
                                                         pulls data. Google is engaging in best efforts
          to search all the identifiers provided by consenting Plaintiffs and their experts across the
              logs. However, all      logs contain third party confidential publisher information and
          Google will not be able to produce search results until after all third party publishers have
          had reasonable notice.

          Following up on Mr. Mao’s practical suggestion, Google proposes to produce one record
          for each log with the values redacted, so that Plaintiffs will have the populated fields for
          each log. Google will produce the records no later than Thursday, March 10, 2022.

          Second, pursuant to the Special Master’s order and instructions, Google will not be
          providing all fields for all identified logs. See Mr. Schmidt’s December 10, 2021 email
          (“the Special Master temporarily modified the field listing requirement to include the lesser
          of 100 fields or all of the fields in each data source.”).

          The technical burdens associated with providing all field names are neither proportional
          nor beneficial to efficiently resolving the disputes currently before the Special Master. As
          Google explained in its October 1 letter re: technical burden to the Special Master, Google
          stores its logs records in protocol buffers. Protocol buffers related to the selected log
          sources are complex and include nested sub-messages that consist of other protocol buffers,
          that contain further nested sub-messages, and so forth. Each message file contains
          information about the name, type, identifying field number, and (in some cases) a comment
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         about the field. To save space on disk, a protocol buffer record is encoded in a format in
         which the fields are identified by tag numbers.

         Because the logs in question have fields and message files from multiple protocol buffer
         files, Google cannot produce a single “.proto” file, but rather would be required to compile
         a list of hundreds of files—a complex exercise that will require many software engineering
         hours. Similar to how C++ compilers can walk through #include statements to produce a
         binary with all the relevant code and libraries linked in—but there are no readily available
         tools to reconstruct all the relevant source code that went into that specific binary—proto
         files import other proto files, using subsections of those files. Moreover, proto files related
         to the selected data sources are source code: they are submitted as source code, reviewed
         as source code, and run as source code.

         A protocol buffer contains all possible tags that could contain data. With very few
         exceptions—such as the limited number fields that have the rarely used “required” tag—
         there is no requirement for any given field to be filled in. Moreover, it is impossible to
         enforce the semantics of what a field is used for from product to product, or even record to
         record. Some protocol buffers, such as those used in ad query logs or frontend logs, are
         shared across multiple Google products and the vast majority of fields listed therein will
         contain no data in a given record. For example, many fields pertain only to ads shown on
         Google’s search page and are irrelevant to ads on third-party websites.

         Providing a list of fields in a proto that are actually filled/used for the data at issue, is also
         burdensome. Google has no existing tool that provides a listing of populated fields based
         on a given set of conditions. In theory, Google engineers could create a Flume pipeline to
         parse each individual record, filter-in matching product/criteria, enumerate the filled fields,
         and add those to a running set. However, this is a non-trivial program to write, test, submit,
         and validate. Running this program over more than a handful of recent days would also
         require significant computer resources, as the potentially relevant log sources are in the
                                  range. This list of fields would also contain highly sensitive
         information related to Google’s ads serving infrastructure and abuse detection, that is
         irrelevant to this matter and whose disclosure could cause Google substantial economic
         harm.

         Third, as explained at multiple Special Master conferences, Google did not provide “much
         more schema” to the Calhoun Plaintiffs. As the Special Master knows, with regard to
         schema/ field names, Google provided to both Brown and Calhoun Plaintiffs: (1) the top
         100 fields by size; and (2) search results that contain populated fields.

    3. The Brown Plaintiffs request again any Plaintiffs’ preserved data that Special Master Brush
       has ordered Google to produce. In addition, we request that the Brown Plaintiffs receive
       the same schema and explanation for Plaintiffs’ data as similarly provided to the Calhoun
       team. Furthermore, we request the decryption keys for any identifiers contained within the
       preserved data to the extent that these identifiers require decryption.

         Google’s Response:
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         Plaintiffs requested the production of preserved data for the first time earlier this week.
         Google will be producing the preserved data from                 logs that do not contain
         confidential third party information no later than Thursday, March 10.

    4. Google engineers have agreed to take a look at our log requests in the Second Iterative
       Search and let us know which parameters would not return data for each log—to expedite
       search process. We have requested multiple times for that to be conducted immediately,
       and have not received a response.

         Google’s Response:

         Google has previously agreed to provide this information along with the search results. But
         in the interest of cooperation and timely conclusion, below is a table that indicates whether
         each data source selected by Plaintiffs is queryable by the ID types Plaintiffs requested to
         run:

           Selected Data Sources                                      Whether Queryable by Requested ID Types


                                                                      1. UMA client ID (client_ID2) - Yes, search
                                                                      results produced
                                                                      2. IP address and User Agent - Google is still
                                                                      investigating


                         (variant of                          )       1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - No


                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No




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                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent – Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Analytics CID - Yes
                                                                      2. Analytics User-ID (UID) - Google is still
                                                                      investigating
                                                                      3. IP address and User Agent - Google is still
                                                                      investigating
                                                                      4. Biscotti ID extracted from IDE cookies - Yes
                                                                      5. Zwieback ID extracted from NID cookies - No
                                                                      6. PPID-mapped-biscotti ID from PPID - Yes



                                                                      1. Analytics CID - Yes
                                                                      2. Analytics User-ID (UID) – Google is still
                                                                      investigating
                                                                      3. IP address and User Agent - Google is still
                                                                      investigating
                                                                      4. Biscotti ID extracted from IDE cookies - Yes
                                                                      5. Zwieback ID extracted from NID cookies - No
                                                                      6. PPID-mapped-biscotti ID from PPID - Yes


           UMA Dashboard Statistics                                   Aggregate statistics

           User Identifiers in Link Decoration                        1. URL Clickstring - Google is still investigating




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           All logs that contain a "          1. Biscotti ID extracted from IDE cookies - Yes
                           bit" or equivalent 2. Zwieback ID extracted from NID cookies - Yes
                                              3. PPID-mapped-biscotti ID from PPID - Yes
                                              4. IP address and User Agent - Google is still
                                              investigating
                                              5. Analytics CID - No
                                              6. Analytics User-ID (UID) - No



                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Analytics CID - Yes
                                                                      2. Analytics User-ID (UID) - Yes
                                                                      3. IP address and User Agent - Google is still
                                                                      investigating
                                                                      4. Biscotti ID extracted from IDE cookies - Yes
                                                                      5. Zwieback ID extracted from NID cookies - No
                                                                      6. PPID-mapped-biscotti ID from PPID - Yes


                                                                      1. Analytics CID - Yes
                                                                      2. Analytics User-ID (UID) - Yes
                                                                      3. IP address and User Agent - Google is still
                                                                      investigating
                                                                      4. Biscotti ID extracted from IDE cookies - Yes
                                                                      5. Zwieback ID extracted from NID cookies - No
                                                                      6. PPID-mapped-biscotti ID from PPID - Yes


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                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No

                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No


                                                                      1. Biscotti ID extracted from IDE cookies - Yes
                                                                      2. Zwieback ID extracted from NID cookies - No
                                                                      3. PPID-mapped-biscotti ID from PPID - Yes
                                                                      4. IP address and User Agent - Google is still
                                                                      investigating
                                                                      5. Analytics CID - No
                                                                      6. Analytics User-ID (UID) - No




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                                                   SC, SD, TN, TX, UT, VT, VA, WA, WV, WI, WY
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            Basic Subscriber Information / 1. Google Accounts (GAIA IDs) - Yes
            Legal   Investigations Support
            Custom Tooling


     5. The Brown Plaintiffs have repeatedly requested an explanation as to which logs contain
        PPID and Analytics User ID (i.e., this was part of our multiple requests previously for
        descriptions for the identifier fields).

          Google’s Response:

          See response to Request 4 above. Google has no existing tool that provides a listing of
          populated fields that indicate whether a given log contains PPID or Analytics User ID.

     6. The Brown Plaintiffs have repeatedly requested an explanation as to which Brown Plaintiff
        user identifiers have been decrypted and when results from the Second Iterative Search will
        be produced.

          Google’s Response:

          All the identifiers provided by consenting Plaintiffs and their experts on December 17,
          February 22, and March 2 have been decrypted to the extent necessary. Google has
          produced all the decrypted IDs to Plaintiffs. Google will provide results from the second
          iterative search that do not contain third-party confidential information no later than
          Monday, March 14.

Respectfully,

Ryan J. McGee

Ryan J. McGee




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                    EXHIBIT 13
                      Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 65 of 133


Geoffrey Grundy

From:                         Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                         Friday, March 18, 2022 6:07 AM
To:                           Mark C. Mao; Tracy Gao; Ryan McGee x3030; GOOGLETEAM@lists.susmangodfrey.com; QE Brown
Cc:                           Douglas Brush
Subject:                      Re: Brown v. Google, LLC; No. 4:20-cv-03664-YGR-SVK; Wed 3/15 Conference

Categories:                   Log Email


                                               [EXTERNAL EMAIL from timothy.schmidt@accelconsulting.llc]


All,

Special Master Brush and I met with Judge van Keulen at length following the hearing yesterday. She again reminded us
that the final pieces of the discovery process need to be put in place as soon as possible. That said, several major pieces
of the pie remain: preservation plans, search terms and criteria for historical searches of what was previously searched
with only Dremel, and productions of preserved data sources awaiting either approval of third parties or notification
time outs of same.

Preservation plans are due today as is noted in this email thread.

Search terms and criteria for historical searches of what was previously searched using only the Dremel tool need to be
put together by Plaintiffs using information thus far provided by Google. The search terms need to be provided prior to
business opening Monday EDT, March 21, 2022.

For productions of preserved data sources awaiting either approval of third parties or notification time outs of same,
Plaintiffs’ and Google will need to meet and confer to identify those third parties which will receive notifications (and
whose data will be produced) and those third parties which will not receive notifications (at this time) and whose data
will not be produced at this time. Special Master Brush expects this information to be provided to him in a joint
statement by Monday close of business EDT, March 21, 2022. Google will provide evidence of notifications being sent
out to all agreed upon third parties no later than Tuesday close of business EDT, March 22, 2022. Google will provide a
good faith estimate of the production date for all data sources for which third party notification is required.

Special Master Brush wishes to have a close out meet and confer with the parties on Tuesday March 22, 2022, to
confirm closure of the relevant open discovery items and to discuss the process in place for parties to complete the still
remaining productions.

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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From: Douglas Brush <douglas.brush@accelconsulting.llc>
Date: Monday, March 14, 2022 at 8:40 PM
To: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, Mark C. Mao <mmao@bsfllp.com>, Tracy
Gao <tracygao@quinnemanuel.com>, Ryan McGee x3030 <rmcgee@forthepeople.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>, QE Brown
<qebrown@quinnemanuel.com>
Subject: Brown v. Google, LLC; No. 4:20‐cv‐03664‐YGR‐SVK; Wed 3/15 Conference

Counsel et al,

I just finished an update call with Magistrate Judge van Keulen. While the Judge is pleased with the progress on
the remaining discovery disputes, she also reminded me that discovery was to be completed on March 4, 2022.
Still, we are invested in ensuring that the process considers both the Plaintiffs’ claims and Google’s defenses and
that the process leaves very few stones unturned for either side in this matter.

I suggested to Her Honor that she cancels the hearing tomorrow in favor of Parties working on and closing out
the remaining open discovery issues for the Court to have a more meaningful and productive hearing on
Thursday, March 17.

I want a Meet & Confer tomorrow with Brown Parties tomorrow (3/15) morning to finish creating preservation
plans, conclude the remaining discovery disputes, and put in place the criteria for Flume and or other remaining
searches.

Finally, the Court and I expect that final preservation plans are filed no later than Friday, March 18, 2022. Failure
to do so will result in the Court making a unilateral decision and or sanctions.


Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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                   EXHIBIT 14
                      Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 68 of 133


Geoffrey Grundy

From:                         Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                         Monday, March 21, 2022 3:07 PM
To:                           Mark C. Mao; Tracy Gao; Ryan McGee x3030; GOOGLETEAM@lists.susmangodfrey.com; QE Brown
Cc:                           Douglas Brush
Subject:                      Re: Brown v. Google, LLC; No. 4:20-cv-03664-YGR-SVK; Wed 3/15 Conference


                                               [EXTERNAL EMAIL from timothy.schmidt@accelconsulting.llc]


All,

Please provide the materials that Special Master Brush requested last week to be completed today. This would include
search terms, criteria, and data sources to be searched from Plaintiffs. Also please note that we have still not received
the information regarding outstanding productions that were to be provided to Special Master Brush by close of
business today EDT by Google.

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

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BOULDER, CO 80301

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           From: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
           Date: Friday, March 18, 2022 at 2:06 PM
           To: Mark C. Mao <mmao@bsfllp.com>, Tracy Gao <tracygao@quinnemanuel.com>, Ryan McGee
           x3030 <rmcgee@forthepeople.com>, GOOGLETEAM@lists.susmangodfrey.com
           <GOOGLETEAM@lists.susmangodfrey.com>, QE Brown <qebrown@quinnemanuel.com>
           Cc: Douglas Brush <douglas.brush@accelconsulting.llc>
           Subject: Re: Brown v. Google, LLC; No. 4:20‐cv‐03664‐YGR‐SVK; Wed 3/15 Conference

           All,

           Special Master Brush and I met with Judge van Keulen at length following the hearing yesterday. She again
           reminded us that the final pieces of the discovery process need to be put in place as soon as possible. That said,
           several major pieces of the pie remain: preservation plans, search terms and criteria for historical searches of
           what was previously searched with only Dremel, and productions of preserved data sources awaiting either
           approval of third parties or notification time outs of same.

           Preservation plans are due today as is noted in this email thread.



                                                                                        1
          Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 69 of 133

Search terms and criteria for historical searches of what was previously searched using only the Dremel tool
need to be put together by Plaintiffs using information thus far provided by Google. The search terms need to
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For productions of preserved data sources awaiting either approval of third parties or notification time outs of
same, Plaintiffs’ and Google will need to meet and confer to identify those third parties which will receive
notifications (and whose data will be produced) and those third parties which will not receive notifications (at
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provided to him in a joint statement by Monday close of business EDT, March 21, 2022. Google will provide
evidence of notifications being sent out to all agreed upon third parties no later than Tuesday close of business
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which third party notification is required.

Special Master Brush wishes to have a close out meet and confer with the parties on Tuesday March 22, 2022, to
confirm closure of the relevant open discovery items and to discuss the process in place for parties to complete
the still remaining productions.

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

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BOULDER, CO 80301

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           From: Douglas Brush <douglas.brush@accelconsulting.llc>
           Date: Monday, March 14, 2022 at 8:40 PM
           To: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, Mark C. Mao
           <mmao@bsfllp.com>, Tracy Gao <tracygao@quinnemanuel.com>, Ryan McGee x3030
           <rmcgee@forthepeople.com>
           Cc: GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>, QE
           Brown <qebrown@quinnemanuel.com>
           Subject: Brown v. Google, LLC; No. 4:20‐cv‐03664‐YGR‐SVK; Wed 3/15 Conference

           Counsel et al,

           I just finished an update call with Magistrate Judge van Keulen. While the Judge is pleased with the
           progress on the remaining discovery disputes, she also reminded me that discovery was to be
           completed on March 4, 2022. Still, we are invested in ensuring that the process considers both the
           Plaintiffs’ claims and Google’s defenses and that the process leaves very few stones unturned for either
           side in this matter.

           I suggested to Her Honor that she cancels the hearing tomorrow in favor of Parties working on and
           closing out the remaining open discovery issues for the Court to have a more meaningful and productive
           hearing on Thursday, March 17.


                                                                             2
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I want a Meet & Confer tomorrow with Brown Parties tomorrow (3/15) morning to finish creating
preservation plans, conclude the remaining discovery disputes, and put in place the criteria for Flume
and or other remaining searches.

Finally, the Court and I expect that final preservation plans are filed no later than Friday, March 18,
2022. Failure to do so will result in the Court making a unilateral decision and or sanctions.


Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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         EXHIBIT 15
     Redacted Version of
     Document Sought to
         be Sealed
                      Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 72 of 133


Geoffrey Grundy

From:                         Douglas Brush <douglas.brush@accelconsulting.llc>
Sent:                         Tuesday, March 22, 2022 3:24 PM
To:                           Timothy Schmidt; Mark C. Mao; Andrew Schapiro; Tracy Gao;
                              GOOGLETEAM@lists.susmangodfrey.com
Cc:                           QE Brown
Subject:                      Re: Brown (20-3664) v. Google - Plaintiffs' Proposed Preservation Plan

Importance:                   High


                                                [EXTERNAL EMAIL from douglas.brush@accelconsulting.llc]


Counsel, et al.,

Thank you for making the time to speak tomorrow.

We are far past the end of discovery and these calls are to serve as instructions for closing out the only two open issues:

     1. Final searches – What terms and data sources will be run on the final searches of data.
     2. Closing out the preservation plan. Please follow Mr. Schmidt’s instructions on this. We will not spend much time
        on arguments or review of this issue tomorrow. However, I do expect the fully baked plans to come to me so I
        can finalize, send back, and have it fled with the Court.

To be crystal clear: This is the end of the process. We will not be arguing new issues or expanding discovery. Be prepared
to come discuss how we close out the Special Master process this week.


Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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email and delete this message.




From: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Date: Tuesday, March 22, 2022 at 6:22 AM
To: Mark C. Mao <mmao@BSFLLP.com>, Andrew Schapiro <andrewschapiro@quinnemanuel.com>, Douglas
Brush <douglas.brush@accelconsulting.llc>, Tracy Gao <tracygao@quinnemanuel.com>,
GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>
                                                                                        1
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Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: Re: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

Ms. Gao,
Please set the meets for 10:00 am and 11:30 am EDT. Each meet should be for 1 hour.
Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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From: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent: Monday, March 21, 2022 11:08:41 PM
To: Mark C. Mao <mmao@BSFLLP.com>; Andrew Schapiro <andrewschapiro@quinnemanuel.com>; Douglas Brush
<douglas.brush@accelconsulting.llc>; Tracy Gao <tracygao@quinnemanuel.com>;
GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: Re: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

All,

Thank you for providing your versions of a preservation plan as requested. Special Master and I have reviewed the plans
and while these will serve as a starting point, we will need for the parties to provide a version that allows for
consolidation of all parts of the competing plans into a unified format.

Special Master Brush requires that you provide a joint plan in a consolidated tabular format (i.e., both parties will
provide input into the same cell within the table for each issue). The unified tabular joint submission will be provided to
Special Master Brush by no later than close of business EDT, tomorrow, March 22, 2022. The format of each party’s
contribution will be as follows:
     Agreed upon verbiage will be provided in Black.
     Google verbiage to which Plaintiff does not agree will be provided in Orange.
     Plaintiff verbiage to which Google does not agree will be provided in Blue.

The table will be comprised of five columns:
    1. Issue
    2. Description of Issue and list of relevant data source(s)
    3. For each identified data source associated with this issue, standard preservation length and approximate size
    4. Start and End dates of preservation for relevant data sources for this issue
    5. For each identified data source associated with this issue, a list of fields (where known or a description of
        content in general) which will be preserved; sampling methodology (if any)

Both Parties will refrain from providing legal arguments and/or criticism of opposing Party’s approach.

The goal is to create a framework for Special Master Brush to work from to finalize a binding preservation plan.

Thank you,
Tim Schmidt
                                                                                        2
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Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

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           From: Mark C. Mao <mmao@BSFLLP.com>
           Date: Saturday, March 19, 2022 at 9:19 PM
           To: Andrew Schapiro <andrewschapiro@quinnemanuel.com>, Douglas Brush
           <douglas.brush@accelconsulting.llc>, Tracy Gao <tracygao@quinnemanuel.com>, Timothy Schmidt
           <timothy.schmidt@accelconsulting.llc>, GOOGLETEAM@lists.susmangodfrey.com
           <GOOGLETEAM@lists.susmangodfrey.com>
           Cc: QE Brown <qebrown@quinnemanuel.com>
           Subject: Re: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

           Mr. Shapiro ‐

           Please present an actual preservation plan that includes data from the Class Period. That is what the Court
           ordered.


           Your proposal has no basis or precedence in case law.


           Thanks.

           Mark (Hsiao C) Mao
           Boies Schiller Flexner LLP
           mmao@bsfllp.com
           415.999.9695 (Cell)

           From: Andrew Schapiro <andrewschapiro@quinnemanuel.com>
           Sent: Saturday, March 19, 2022 11:53:41 AM
           To: Mark C. Mao <mmao@BSFLLP.com>; Douglas Brush <douglas.brush@accelconsulting.llc>; Tracy Gao
           <tracygao@quinnemanuel.com>; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>;
           GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>
           Cc: QE Brown <qebrown@quinnemanuel.com>
           Subject: RE: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

           Dear Special Master Brush:

           This is a discussion about preservation, not about the merits of a class certification or liability. It is, of course,
           neither feasible nor reasonable to demand preservation of everything Plaintiffs list in the preservation proposal.
           Nor is it necessary. The case will rise or fall regardless of the amount of data that is preserved. Stated
           otherwise, the amount and quality of data that Google proposes preserving is more than sufficient for Plaintiffs
           to attempt to make their case and us to attack it.
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I’m sure the last thing you are interested in now is finger‐pointing, so I will say only that it was always our desire
to submit a joint document, even if it reflected (via the color‐code method) significant disagreement among the
parties. The emails appended to Ms. Gao’s submission make that clear. When, last night, plaintiffs refused to
do so and sent in their own proposal, we had no choice but to follow with our own. The suggestion that our
proposal is not a “preservation” proposal because it would preserve only samples from the logs– which is the
only feasible approach, given the volume of data at issue – is meritless. If it helps, we would be willing to
stipulate that the preserved samples are, in our view, representative ones.

Other than that, Mr. Mao’s invitation to draw you in to a legal dispute about how claims in a class action can or
cannot be established should be rejected. The issue before the Special Master, technical in nature, is whether a
workable plan can be devised. The plan we have proposed is the only one that fits that bill, and should be
adopted.



From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Saturday, March 19, 2022 10:57 AM
To: Douglas Brush <douglas.brush@accelconsulting.llc>; Tracy Gao <tracygao@quinnemanuel.com>; Timothy
Schmidt <timothy.schmidt@accelconsulting.llc>; GOOGLETEAM@lists.susmangodfrey.com
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: RE: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

                                      [EXTERNAL EMAIL from mmao@bsfllp.com]


Special Master Brush:

It may help if I summarize at a high level, what the parties appear to be able to agree on (or work further to),
and disagree on:

Both Google and Plaintiffs appear to be able to work further to:

        Select what fields and tables need to be preserved, to help reduce the total size of data to be preserved
        (e.g., Plaintiffs’ proposed parameters below);

        Select what types of log sources are at issue (although Plaintiffs are still waiting for Google’s full list of
        relevant logs and schema);

        Whether “super logs” combining log sources and data may be used by Google (e.g., combining UMA
        logs with ad logs).

However, Plaintiffs and Google are not able to agree on whether a sampling plan may be used in lieu of full
preservation. To be clear, Google is talking about only preserving a small set of random event level data (e.g., at
the row level), but destroying the remainder. Plaintiffs have asked for research from Google proving that this is
legally permissible, because Plaintiffs have found no authority for the allowance of such destruction.

Google’s insistence on a sampling approach is a gateway issue on the remainder of the agreement for
Google. Thus, Plaintiffs have not yet been able to discuss with Google the preservation of other types of data
typically preserved by Google, but of which should make it into a preservation plan anyways:

        Encryption keys;

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           Profile data;

           Dashboard data;

           Financial data.

This high‐level summary contains some over‐simplification. But I figure this may the easiest way to explain to
you why the parties are at an impasse.

Still, I hope I made clear that I am open to hearing more from Google over the weekend and before our meeting
on the 22nd, and I remain on standby. Thank you all in advance.

From: Douglas Brush <douglas.brush@accelconsulting.llc>
Sent: Saturday, March 19, 2022 7:46 AM
To: Mark C. Mao <mmao@BSFLLP.com>; Tracy Gao <tracygao@quinnemanuel.com>; Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>; GOOGLETEAM@lists.susmangodfrey.com
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: Re: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan


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Where is the joint plan?

Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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From: Mark C. Mao <mmao@BSFLLP.com>
Date: Saturday, March 19, 2022 at 4:41 AM
To: Tracy Gao <tracygao@quinnemanuel.com>, Douglas Brush <douglas.brush@accelconsulting.llc>,
Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, GOOGLETEAM@lists.susmangodfrey.com
<GOOGLETEAM@lists.susmangodfrey.com>
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: Re: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

Ms. Gao ‐
                                                                             5
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The record below shows that the Brown plaintiffs were the only ones that had actually presented a preservation
plan. Your counter presented a sampling plan instead, not a preservation plan.

While interesting theoretically, we immediately told you that it seemed legally questionable whether a sampling
plan can even be used and approved by a Court in lieu, especially before class certification. Here, you are not
even suggesting the seeking of Court approval, or some other means of blessing by the class process. Thus, we
asked that you research the topic, and you do not appear to have done so.

Our plan presented last night is what we had originally presented on March 9, which remains the only
preservation plan presented. Again, we ask that if your only suggestion is a sampling plan, please present legal
authority that shows sampling may be used in lieu of actual preservation.

Thank you,

Mark (Hsiao C) Mao
Boies Schiller Flexner LLP
mmao@bsfllp.com
415.999.9695 (Cell)

From: Tracy Gao <tracygao@quinnemanuel.com>
Sent: Friday, March 18, 2022 8:28 PM
To: Douglas Brush <douglas.brush@accelconsulting.llc>; Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>; GOOGLETEAM@lists.susmangodfrey.com
<GOOGLETEAM@lists.susmangodfrey.com>; Mark C. Mao <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: FW: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

Dear Special Master Brush, Mr. Schmidt,

As counsel for Plaintiffs suggested below, we are submitting Google’s preservation proposal (see attached). We
sent this proposal to Plaintiffs on Tuesday, March 15. The parties met and conferred on the same day, and
counsel for Plaintiffs indicated that they would let us know which aspects of the proposal they could agree to
and propose a joint preservation plan. We followed up with Plaintiffs a couple of times today, but unfortunately
Plaintiffs refused to submit a joint preservation proposal. Instead, they sent a new proposal to the Special
Master.

We are reviewing Plaintiffs’ new proposal. Meanwhile, we can meet with the Special Master team at any time to
discuss the details in our proposal.

Best,
Tracy

From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Friday, March 18, 2022 9:20 PM
To: Tracy Gao <tracygao@quinnemanuel.com>; Ryan McGee x3030 <rmcgee@forthepeople.com>; Beko
Richardson <brichardson@BSFLLP.com>; GOOGLETEAM@lists.susmangodfrey.com
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: RE: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

                                    [EXTERNAL EMAIL from mmao@bsfllp.com]

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Counsel:

That won’t work for many reasons. We will provide a response, to you and the Special Master. But you should
probably do the legal research necessary on your proposal.

Please send your proposal and research to the Special Master as well. Thank you.

From: Tracy Gao <tracygao@quinnemanuel.com>
Sent: Friday, March 18, 2022 6:02 PM
To: Mark C. Mao <mmao@BSFLLP.com>; Ryan McGee x3030 <rmcgee@forthepeople.com>; Beko Richardson
<brichardson@BSFLLP.com>; GOOGLETEAM@lists.susmangodfrey.com
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: RE: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

Counsel,


Please find attached Google’s draft of the joint preservation proposal. Please let us know if Plaintiffs agree to
any specific aspects of the proposal. We propose to jointly submit to the Special Master the preservation
proposal with areas of agreement in black, and disputed positions in red (Plaintiffs)/ blue (Google).


Best,
Tracy

From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Friday, March 18, 2022 3:57 PM
To: Tracy Gao <tracygao@quinnemanuel.com>; Ryan McGee x3030 <rmcgee@forthepeople.com>; Beko
Richardson <brichardson@BSFLLP.com>; GOOGLETEAM@lists.susmangodfrey.com
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: RE: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

                                     [EXTERNAL EMAIL from mmao@bsfllp.com]


I will send our proposal sometime between 3‐4pm PT ideally. Thanks.

From: Tracy Gao <tracygao@quinnemanuel.com>
Sent: Friday, March 18, 2022 10:28 AM
To: Mark C. Mao <mmao@BSFLLP.com>; Ryan McGee x3030 <rmcgee@forthepeople.com>; Beko Richardson
<brichardson@BSFLLP.com>; GOOGLETEAM@lists.susmangodfrey.com
Cc: QE Brown <qebrown@quinnemanuel.com>
Subject: FW: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

Counsel,

As discussed at Tuesday’s meet and confer, we are expecting Plaintiffs’ proposed stipulation or thoughts on our
March 15 suggested framework for preservation. Are Plaintiffs intending to provide any further input on the
joint preservation proposal? To the extent that Plaintiffs can agree to specific aspects of our preservation
proposal, could you please let us know by 1 pm Pacific? Thank you.

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Best,
Tracy

From: Josef Ansorge <josefansorge@quinnemanuel.com>
Sent: Tuesday, March 15, 2022 12:55 PM
To: Mark C. Mao <mmao@BSFLLP.com>; Douglas Brush <douglas.brush@accelconsulting.llc>; Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>
Cc: QE Brown <qebrown@quinnemanuel.com>; GOOGLETEAM@lists.susmangodfrey.com
Subject: RE: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

Dear Mr. Mao,

Thank you for the productive meet and confer yesterday. Below please find our written proposal / suggested
framework for preservation.

        15-MAR-2022 Draft Google Framework for Preservation

        Google proposes to preserve a daily sample of        Display Ads events associated with
        different randomly selected UIDs scoped to activity in the United States based on the Country
        field:

             Event_id (information used to identify events in log entries);
             IP address;
             User-agent;
             HTTP header (including x-client-data header field);
             URL; and
             Date and time (to the extent that is not legible from Event_id).
        Instead of categorically preserving a number of different log sources, Google proposes to construct
        a log source for preservation that only consists of the specific fields and data to be preserved. In
        addition, Google proposes preserving:

             the           dashboard data (based on                                and
                   boolean fields); and

             the Display Ads dashboard data (based on                                  boolean field).

We are optimistic that the parties can find agreement and look forward to discussing class‐wide preservation
with you in more detail during today’s meet and confer.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
202-538-8267 Direct
202.538.8000 Main Office Number
202.538.8100 FAX


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josefansorge@quinnemanuel.com
www.quinnemanuel.com


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From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Wednesday, March 9, 2022 5:06 PM
To: Douglas Brush <douglas.brush@accelconsulting.llc>; Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>
Cc: QE Brown <qebrown@quinnemanuel.com>; GOOGLETEAM@lists.susmangodfrey.com
Subject: Brown (20‐3664) v. Google ‐ Plaintiffs' Proposed Preservation Plan

                                                 [EXTERNAL EMAIL from mmao@bsfllp.com]


Dear Special Master Brush,

As you have requested, Plaintiffs propose the following to try to move the ball forward on a preservation plan,
consistent with the Magistrate Judge’s recent orders.

Google to Preserve:

Plaintiffs propose that Google extend its default retention period for three discrete categories of logs, as well as
any encryption and/or joinability keys associated with any identifiers in such logs, as follows:

     1.     UMA Raw Logs: Google should preserve raw UMA logs through the duration of this case. Please note
           that this log appears to be
                                                                See GOOG‐CABR‐04801490.

     1.               Logs with the                     Bit: Google should preserve all of these logs for at least
           year longer than the default retention period. Please note that Google considered retaining          logs—
           which include substantially greater data and are costlier to preserve than        logs—for up to        year
           for its own, internal business purposes. See GOOG‐BRWN‐00845467.

     1.     Select Additional Logs: Google should preserve the following logs, which appear to contain either (a) the
           X‐Client data header or (b) PPID‐mapped biscotti and/or Analytics User IDs, for at least year longer
           than the default retention period:                       ;                      ;                 ;
                                      ;                                                                       ;
                                                                       ; and                            .

For sources Nos. 2‐3, the proposed retention periods may be sufficient, or would provide sufficient time for the
parties to agree on a more targeted preservation plan if necessary. Plaintiffs remain willing to consider any
proposals by Google to narrow what is preserved to less than the full content of these logs, but Plaintiffs
presently do not have sufficient information to propose such a subset without further input from Google and
believe the full logs should be preserved at least long enough for the parties to confer about a more targeted
preservation plan. For example, Plaintiffs may be willing to meet and confer to agree on the preservation of a
smaller subset of the data, specifically – 1) identifiers, 2) IP address, 3) user‐agent, 4) HTTP header, 5) URL, 6)
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date and time, and 7) any “incognito”‐titled field (e.g.,                                                                   ) or field containing
Incognito‐detection (e.g.,                        fields).

Google to Disclose:

Plaintiffs also propose that Google disclose the names of all logs in the following categories, as well as their
default retention periods. Once such a disclosure is made, Plaintiffs can consider what preservation, if any, may
be necessary.

      1.     All source logs from which the                                             bit in the              logs described above may be
            inferred.

      1.    All logs containing any parameter or field with “Incognito” in the name, and the full name/description
            of the field with “Incognito” in the name for each such log. (For instance,       logs that contain an
                                          bit would be included here.)

      1.     All logs containing PPID‐mapped biscotti and/or Analytics User IDs. Google has indicated that it does
            not have an “existing tool” that “provides a listing of populated fields that indicate whether a given log
            contains PPID or Analytics User ID.”

For these three categories of logs and sources that Plaintiffs are requesting that Google disclose, Plaintiffs may
again be willing to meet and confer to agree on the preservation of a smaller subset of the data, specifically – 1)
identifiers, 2) IP address, 3) user‐agent, 4) HTTP header, 5) URL, 6) date and time, and 7) any “incognito”‐titled
field (e.g.,                              ) or field containing Incognito‐detection (e.g.,
fields). Plaintiffs respectfully submit that Google should use whatever means it has available to attempt in good
faith to identify such logs; for example, by (1) asking persons likely to have such knowledge, (2) running test
searches for such identifiers across a broader set of logs to identify those containing such identifiers, (3) using
any tools that would identify such logs (even if such a tool would not “provide a listing of populated fields” as
Google’s carefully‐worded statement above suggests), or (4) any other methods available to Google.

Plaintiffs and their experts remain available to discuss these issues to try to arrive at a sensible preservation
framework.

Respectfully,

Mark C. Mao
(He/him/his)
Partner

BOIES SCHILLER FLEXNER LLP
44 Montgomery Street, 41st Floor
San Francisco, CA 94104
(t) 415 293 6858
(c) 415 999 9695
mmao@bsfllp.com


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error, please immediately notify the sender by replying to this electronic message and then deleting this electronic message from your computer. [v.1
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08201831BSF]


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08201831BSF]




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Geoffrey Grundy

From:                       Josef Ansorge
Sent:                       Wednesday, March 23, 2022 11:47 AM
To:                         Douglas Brush; Timothy Schmidt; Mark C. Mao
Cc:                         QE Brown; GOOGLETEAM@lists.susmangodfrey.com
Subject:                    Brown v. Google: Deposition Testimony re:   Logs


Special Master Brush, Mr. Schmidt, Mr. Mao,

Thank you for the productive meet and confer this morning. As requested by the Special Master, we are hereby
providing sendfile information for the deposition transcript and relevant exhibit used at Dr. Sadowski’s 30(b)(6)
deposition regarding the         logs (Notice 2; Topic 10). We have highlighted the most relevant passages for the
                           and                        Boolean fields in both documents. (I will provide the sendfile
password under separate cover.)

           Click here to download the file(s) listed below

           DrCaitlinSadowski_2_highlighting.pdf                      122.04 KB
           DrCaitlinSadowski_COND.pdf                                425.28 KB

           If the link above does not open, please copy and paste the following URL into your browser:
           https://sendfile.quinnemanuel.com/pkg?token=34268486-5ae9-487a-9d85-9dc72a253207

As explained this morning, to the extent Plaintiffs select any of these log sources for their next round of
searches—and the Special Master approves the requests—Google agrees to conduct searches over those sources and
produce responsive results.

We look forward to working with Plaintiffs and the Special Master to close out the Special Master process this week.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
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202.538.8000 Main Office Number
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josefansorge@quinnemanuel.com
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Geoffrey Grundy

From:                       Josef Ansorge
Sent:                       Saturday, March 26, 2022 8:59 AM
To:                         Douglas Brush; Ryan McGee x3030; Timothy Schmidt; Mark C. Mao
Cc:                         QE Brown; GOOGLETEAM@lists.susmangodfrey.com
Subject:                    Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data



Special Master Brush,

Thank you for your email and guidance. Google is ready to initiate the final set
of searches, including searches across the preserved data you referred to in
your email. We look forward to receiving the final set of search requests from
Plaintiffs and to working with Plaintiffs and the Special Master team to
successfully close out the Special Master process.

Best,
Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
202-538-8267 Direct
202.538.8000 Main Office Number
202.538.8100 FAX
josefansorge@quinnemanuel.com
www.quinnemanuel.com

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by e-mail, and delete the original message.




From: Douglas Brush <douglas.brush@accelconsulting.llc>
Sent: Saturday, March 26, 2022 11:35
To: Ryan McGee x3030 <rmcgee@forthepeople.com>; Josef Ansorge <josefansorge@quinnemanuel.com>; Timothy
Schmidt <timothy.schmidt@accelconsulting.llc>; Mark C. Mao <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>; GOOGLETEAM@lists.susmangodfrey.com
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

                                             [EXTERNAL EMAIL from douglas.brush@accelconsulting.llc]



                                                                                  1
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Mr. McGee and Mr. Ansorge,

Where are we in the search negotiations and a proposed plan for final searches?

As for the “Preserved” data listed below, I am to assume this is the blanked data put on litigation hold, that has not been
produced due to 3rd party notification issues.

This data needs to be searched in accordance with the Special Master process and order. This is the process I want
followed and to end the dispute about its production.


Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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email and delete this message.




From: Ryan McGee x3030 <rmcgee@forthepeople.com>
Date: Thursday, March 24, 2022 at 8:30 PM
To: Josef Ansorge <josefansorge@quinnemanuel.com>, Douglas Brush <douglas.brush@accelconsulting.llc>,
Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, Mark C. Mao <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>, GOOGLETEAM@lists.susmangodfrey.com
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Special Master Brush, Mr. Schmidt, and Counsel:

Regarding the below “preserved data,” the Brown Plaintiffs think what would help the parties move onward is:


          A full production of all of Plaintiffs’ identifiers from the “preserved data,” for what was withheld below. If no
           identifiers were withheld, Google should so indicate.
          For the below that Google is withholding, the parties need a record of what exactly is being held back.
               o At minimum, Plaintiffs would be entitled to field descriptions. This way, if there is any future dispute,
                    there is no disagreement as to what was withheld, and on what alleged basis.
               o Without descriptions, there is no record of what Google is currently claiming needs “publisher
                    permission.” The Special Master and Court cannot evaluate the propriety of Google’s claim.

If Google is willing to agree to the proposed interim solution above, Plaintiffs can wait longer for the rest of their
preserved data, while proceeding forward beyond the issue of “preserved data” at least for their searches. The Brown
Plaintiffs maintain that they are entitled to all of their data, and a full production of the preserved data as ordered. The
                                                                                        2
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compromise offered here is merely an interim solution, and the Brown Plaintiffs do not hereby waive any rights or
objections.

Lastly, the Brown Plaintiffs note that their willingness to work with Google on this for “preserved data” is not a
compromise on getting complete and fulsome search results. We agree with the Special Master’s reminder yesterday,
which is that the full productions were ordered.

Thank you,
Ryan


Ryan McGee
Attorney
My Bio

P: (813) 223‐0931
F: (813) 222‐4702
A: 201 N Franklin St, 7th Floor, Tampa, FL 33602

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A referral is the best compliment. If you know anyone that needs our help, please have them call our office 24/7.


From: <owner‐googleteam@lists.susmangodfrey.com> on behalf of Josef Ansorge
<josefansorge@quinnemanuel.com>
Date: Wednesday, March 23, 2022 at 4:34 PM
To: Douglas Brush <douglas.brush@accelconsulting.llc>, Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>, "Mark C. Mao" <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>, "GOOGLETEAM@lists.susmangodfrey.com"
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

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Special Master Brush, Mr. Schmidt, Counsel,

As requested during this morning’s meet and confer we have worked with Google engineers to pull additional
descriptive statistics comparing produced preserved data to preserved data that would require reasonable publisher
notice before it can be produced.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             3
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We hope this additional information is helpful to the Special Master to determine whether, and for which publishers,
Google should provide reasonable notice to produce previously preserved records. As stated during today’s meet and
confer, Google is prepared to provide notice to all the publishers     associated with Plaintiffs’ second set of search
requests. Alternatively, we are also prepared to provide notice to the top publishers by record for preserved data and
second set of search requests. To minimize the burden, we respectfully request that the publisher notice be conducted
simultaneously for both cases (Calhoun and Brown) and all further required notices be processed together at one time.

Special Master Brush: Please let us know how we should proceed.

We look forward to working with Plaintiffs and the Special Master team to close out the Special Master process this
week.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
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202-538-8267 Direct
202.538.8000 Main Office Number
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Geoffrey Grundy

From:                         Douglas Brush <douglas.brush@accelconsulting.llc>
Sent:                         Thursday, March 31, 2022 10:56 AM
To:                           Josef Ansorge; Mark C. Mao; QE Brown
Cc:                           GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt
Subject:                      Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data


                                                [EXTERNAL EMAIL from douglas.brush@accelconsulting.llc]


Messrs Ansorge and Mao,

Plaintiffs are to provide final searches at this point.

As for the preserved‐historical data, the preponderance of this material has been produced to the Plaintiffs. This should
give ample context to construct searches. What has NOT been produced is material that needs 3rd part consent.

This tranche of data (preserved‐historical data requiring 3rd party consent) will be searched with terms provided by the
Plaintiffs. Then, responsive data will need to have 3rd party notice before production to the Plaintiffs.

We do not need to complicate this any further.

If we need to hop on a call to resolve this, please advise.




Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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From: Josef Ansorge <josefansorge@quinnemanuel.com>
Date: Thursday, March 31, 2022 at 9:38 AM
To: Mark C. Mao <mmao@BSFLLP.com>, Douglas Brush <douglas.brush@accelconsulting.llc>, QE Brown
<qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>, Timothy Schmidt
                                                                                        1
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<timothy.schmidt@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Dear Special Master Brush,

As far as historical searches, you clearly informed the parties how publisher notice is to be handled: “Preserved
data sources are to be searched in accordance with the Special Master process and order.” No further meet and
confers should be required. That dispute is resolved.

For the avoidance of all doubt, Google is not refusing to complete any searches. To the contrary, Google has
repeatedly requested Plaintiffs’ third and final set of searches. As we explained during our conferences, we were
requesting Plaintiffs final set of searches because it would have permitted us to process all required publisher
notices at one time. However, since Plaintiffs appear unwilling to submit any additional searches, we
respectfully seek your guidance on whether the process will be complete once Google produces data requiring
publisher notice from the following three sources:
    
    
    

Respectfully,
Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
202-538-8267 Direct
202.538.8000 Main Office Number
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From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Thursday, March 31, 2022 10:30 AM
To: Josef Ansorge <josefansorge@quinnemanuel.com>; Douglas Brush <douglas.brush@accelconsulting.llc>; QE Brown
<qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

                                                       [EXTERNAL EMAIL from mmao@bsfllp.com]


Mr. Ansorge:

Good morning.

At minimum, do you dispute that you have not produced historical data or responses from three log sources? Because if
you do not dispute that, you have not finished the prior searches.

                                                                                  2
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And is there any question that you have not produced a full list of all data sources that can contain one of the three
incognito‐bits? What about full schemas? If you do not dispute that, you also have not complied with the November 12
Order.

If your point is that Google refuses to finish, then you do you not need to respond.

Respectfully.

From: Josef Ansorge <josefansorge@quinnemanuel.com>
Sent: Thursday, March 31, 2022 7:14 AM
To: Mark C. Mao <mmao@BSFLLP.com>; Douglas Brush <douglas.brush@accelconsulting.llc>; QE Brown
<qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Mr. Mao,

Search 2 is finished. The responsive data has been produced. The Special Master made clear at our last conference that
the priority is to get in the third and final set of searches. As you know, we have been requesting Plaintiffs’ search
selection for weeks. If Plaintiffs do not intend to select any further sources for searches, please inform us immediately. If
Plaintiffs do select additional searches, we are of course happy to meet and confer with Plaintiffs on those searches.

Respectfully,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

1300 I Street, NW, Suite 900
Washington, D.C. 20005
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202.538.8000 Main Office Number
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From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Thursday, March 31, 2022 2:07 AM
To: Douglas Brush <douglas.brush@accelconsulting.llc>; QE Brown <qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

                                                       [EXTERNAL EMAIL from mmao@bsfllp.com]


Special Master Brush: Attached please find Plaintiffs’ contribution to the Joint Update. Please note that Google has
refused to meet and confer to finish Search 2 and the Test Searches as ordered. Please have a good evening.

From: Mark C. Mao
Sent: Wednesday, March 30, 2022 1:20 PM
                                                                                  3
                      Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 94 of 133

To: Douglas Brush <douglas.brush@accelconsulting.llc>; Tracy Gao <tracygao@quinnemanuel.com>; QE Brown
<qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Special Master Brush:

Received. Plaintiffs will respond and revert to this today. Please have a good evening.

From: Douglas Brush <douglas.brush@accelconsulting.llc>
Sent: Wednesday, March 30, 2022 1:17 PM
To: Tracy Gao <tracygao@quinnemanuel.com>; Mark C. Mao <mmao@BSFLLP.com>; QE Brown
<qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Subject: Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data


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Mr. Mao,

Please review and make any additional changes ASAP.

These discovery issues need to put to bed this week or there will be no choice but to recommend sanctions on Parties
for further delays.

Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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From: Tracy Gao <tracygao@quinnemanuel.com>
Date: Wednesday, March 30, 2022 at 1:51 PM
To: Mark C. Mao <mmao@BSFLLP.com>, QE Brown <qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com <GOOGLETEAM@lists.susmangodfrey.com>, Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>, Douglas Brush <douglas.brush@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

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Counsel,

I’m attaching here my earlier email with the side‐by‐side response in case you missed it.

Best,
Tracy

From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Wednesday, March 30, 2022 3:01 PM
To: Tracy Gao <tracygao@quinnemanuel.com>; QE Brown <qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>; Douglas Brush
<douglas.brush@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

                                        [EXTERNAL EMAIL from mmao@bsfllp.com]


Counsel – We disagree with you, and am disappointed that you would not even meet and confer with a meeting. Still,
you said that you would produce a side‐by‐side response. When should we expect that, so that we can prepare our
response on the chart?

From: Tracy Gao <tracygao@quinnemanuel.com>
Sent: Wednesday, March 30, 2022 9:35 AM
To: Mark C. Mao <mmao@BSFLLP.com>; QE Brown <qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>; Douglas Brush
<douglas.brush@accelconsulting.llc>
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Dear Special Master Brush, Mr. Schmidt, counsel:

Please find attached Google’s letter regarding the Special Master’s March 29 request for a joint status update. Google
will provide side‐by‐side response to the items Plaintiffs listed below in a joint chart.

Best,
Tracy

From: Mark C. Mao <mmao@BSFLLP.com>
Sent: Wednesday, March 30, 2022 11:07 AM
To: QE Brown <qebrown@quinnemanuel.com>
Cc: GOOGLETEAM@lists.susmangodfrey.com; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>; Douglas Brush
<douglas.brush@accelconsulting.llc>
Subject: FW: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

                                        [EXTERNAL EMAIL from mmao@bsfllp.com]


Counsel:

Good morning. We still have not received a response to our meet and confer below, response to Mr. Schmidt, or time
for our request to meet and confer as ordered.



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I provided a dispute inventory below as raised on March 27. I provide them again here, after reviewing again anything
produced since March 27. For Iterative Search 2 and the Special Master Ordered Test Searches:

   1. Google still has not produced a full list of all logs that contain one of the three possible “incognito” bits.
   2. Google has not been searching the data sources in a manner consistent with how Google knows that data is
       stored. For instance, it appears that some Google process appends a “gfe(gzip)” string to the end of User Agents
       within Google’s logs. Google’s engineers should know this. Instead, Google has been searching with the raw User
       Agent values we provided them (which were collected as they traveled over the network), and searching them
       as if there should be an exact match despite the change. There were further encoding issues present within the
       search script (e.g., ; was replaced with \x3B). The request to search via IP address and User Agent was
       unambiguous and stated in plain English. Plaintiffs expect Google to collaborate in good faith and conduct the
       searches in order to return results, and investigate the cause when no results were allegedly returned.
   3. Google appears to have redacted the last octet of IP addresses in some records produced that were from
       January and February. This is within the window that the full IP address should still be present. Also, it is unclear
       how this affected Google’s searches based on IP addresses and user agent string. Plaintiffs ask for a clear
       explanation on this as well.
   4. For the searches conducted on Analytics logs within              , Google selected a seemingly arbitrary set of fields
       to return, rather than the complete set of fields. Further, Google did not select the same set of fields across the
       searches. For example, looking at the search script, for the “By Biscotti ID” data set, Google only selected the
       Biscotti ID, omitting the CID and UID values regardless of whether they were present. Google then omitted the
       Biscotti ID when generating the “by CID” data set. Google’s arbitrary selection appears aimed at obscuring
       linkages amongst IDs, which is against the spirit of what they were ordered to do. Google should return all fields
       and columns in the search results.
   5. Google is claiming technical issues with respect to historical UMA searches, but is not providing us with a clear
       explanation of what mechanisms they are using for the search. Are they attempting to use Dremel? Or were
       they using Flume? Neither Google’s letter nor script made clear what they were searching. And Plaintiffs are
       unable to assess their efforts without insight into what they are doing. Plaintiffs respectfully ask for clarity.
   6. Google has still not produced the schema for              logs.
   7. Google has not produced results from the                      log.
   8. Google has not produced results from the                                log.
   9. Google has not produced results from the                         log.
   10. Google has not produced                Biscotti ID results for       .
   11. Google has not produced results for CIDs and UIDs for the                               log.
   12. The Google produced search script is often incomplete, with no line wrapping and is cut off. This should be
       easily fixable.
   13. Google has not produced an inventory of what it is withholding allegedly on the basis of “publisher
       consent.” On 3/24, Plaintiffs provided a framework and recommendation by how this may be managed and
       checked so that the parties can move forward. Google has not responded.
   14. Google has not produced what was previously withheld on the basis of “publisher consent,” but now may be
       produced. There needs to be a time definite as to when this would be produced.

Thanks.

From: Mark C. Mao
Sent: Sunday, March 27, 2022 1:36 PM
To: Douglas Brush <douglas.brush@accelconsulting.llc>; Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Cc: QE Brown <qebrown@quinnemanuel.com>; GOOGLETEAM@lists.susmangodfrey.com
Subject: RE: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Special Master Brush and Mr. Schmidt:


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With regard to Google’s production of analytics data from           on Friday ~

       For the IP address, user agent searches, Google is using a gfe(gzip) suffix to search the logs and sources, which is
        not how they are stored.
       Google only selected a random assortment of columns that are of questionable relevance to our query. The
        Special Master can see this in the structure of the query where Google explicitly selected specific columns
        (“          ,                       ,                       ”… instead of               where          would have
        given Plaintiffs the full production). For the columns Google did select, it is totally unclear why Google thought
        those were responsive and others were not.
       Google did not select overlapping identifiers even though at least a few of these data sources should contain
        multiple. For example, Google queried                                                                   by both
        Biscotti and Google Analytics UID, but did not include the Biscotti in the UID results, nor did Google include the
        UID in the Biscotti results
       The PDF containing the search script was not printed with line wrapping enabled and is cut off. Therefore we
        cannot determine the full set of identifiers queried or any other potential issues with the script.
       Google is redacting IP addresses in the production. These are records from January and February 2022, and
        Google has given no indication of why they did this, or how this affects how they have been searching and what
        they produced.

With regard to Google’s production of UMA data on Friday ~

       Google has not produced what was ordered. In so far as Google is arguing for the first that they have now
        encountered some type of technical difficulty, it is unclear what difficulty they are facing, and what tool they are
        using for that.

We think that the fastest way to get answers on these two areas above, and to be able to move forward, is to have our
consultants talk with the Google engineers about the searches done. This would be done with your supervision of
course, and we would again ask that the lawyers refrain from participation in the process.

In addition, Google still has not produced data or produced incomplete data from the following logs and sources from
the prior searches (Iterative Search 2 and Testing Search):

       All logs containing the “                          ” bit – Google only produced schema, but no data;
                – Plaintiffs produced Biscotti IDs, but only received files. Plaintiffs are missing Biscotti ID results;
                       log – Google has not produced anything;
                                  log – Google has not produced anything;
                           log – Google has not produced anything;
                              – Google has not produced results for CIDs and UIDs.

Lastly, Special Master, the Brown Plaintiffs point out that Google still has not responded to our correspondences on 3/22
and 3/24, regarding what else is outstanding. I attach these correspondences for your review.

Thank you in advance.

From: Josef Ansorge <josefansorge@quinnemanuel.com>
Sent: Saturday, March 26, 2022 8:59 AM
To: Douglas Brush <douglas.brush@accelconsulting.llc>; Ryan McGee x3030 <rmcgee@forthepeople.com>; Timothy
Schmidt <timothy.schmidt@accelconsulting.llc>; Mark C. Mao <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>; GOOGLETEAM@lists.susmangodfrey.com
Subject: Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

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Special Master Brush,
Thank you for your email and guidance. Google is ready to initiate the final set
of searches, including searches across the preserved data you referred to in
your email. We look forward to receiving the final set of search requests from
Plaintiffs and to working with Plaintiffs and the Special Master team to
successfully close out the Special Master process.

Best,
Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

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From: Douglas Brush <douglas.brush@accelconsulting.llc>
Sent: Saturday, March 26, 2022 11:35
To: Ryan McGee x3030 <rmcgee@forthepeople.com>; Josef Ansorge <josefansorge@quinnemanuel.com>;
Timothy Schmidt <timothy.schmidt@accelconsulting.llc>; Mark C. Mao <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>; GOOGLETEAM@lists.susmangodfrey.com
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

                                             [EXTERNAL EMAIL from douglas.brush@accelconsulting.llc]


Mr. McGee and Mr. Ansorge,

Where are we in the search negotiations and a proposed plan for final searches?

As for the “Preserved” data listed below, I am to assume this is the blanked data put on litigation hold, that has not been
produced due to 3rd party notification issues.

This data needs to be searched in accordance with the Special Master process and order. This is the process I want
followed and to end the dispute about its production.

                                                                                  8
                      Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 99 of 133


Best,

Doug


___________________________________________

Douglas Brush
President
M 917.470.9140
E douglas.brush@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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email and delete this message.




From: Ryan McGee x3030 <rmcgee@forthepeople.com>
Date: Thursday, March 24, 2022 at 8:30 PM
To: Josef Ansorge <josefansorge@quinnemanuel.com>, Douglas Brush <douglas.brush@accelconsulting.llc>,
Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, Mark C. Mao <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>, GOOGLETEAM@lists.susmangodfrey.com
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: Re: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

Special Master Brush, Mr. Schmidt, and Counsel:

Regarding the below “preserved data,” the Brown Plaintiffs think what would help the parties move onward is:

          A full production of all of Plaintiffs’ identifiers from the “preserved data,” for what was withheld below. If no
           identifiers were withheld, Google should so indicate.
          For the below that Google is withholding, the parties need a record of what exactly is being held back.
               o At minimum, Plaintiffs would be entitled to field descriptions. This way, if there is any future dispute,
                    there is no disagreement as to what was withheld, and on what alleged basis.
               o Without descriptions, there is no record of what Google is currently claiming needs “publisher
                    permission.” The Special Master and Court cannot evaluate the propriety of Google’s claim.

If Google is willing to agree to the proposed interim solution above, Plaintiffs can wait longer for the rest of their
preserved data, while proceeding forward beyond the issue of “preserved data” at least for their searches. The Brown
Plaintiffs maintain that they are entitled to all of their data, and a full production of the preserved data as ordered. The
compromise offered here is merely an interim solution, and the Brown Plaintiffs do not hereby waive any rights or
objections.

Lastly, the Brown Plaintiffs note that their willingness to work with Google on this for “preserved data” is not a
compromise on getting complete and fulsome search results. We agree with the Special Master’s reminder yesterday,
which is that the full productions were ordered.

Thank you,
Ryan


                                                                                        9
                                                                                                                          Case 4:20-cv-03664-YGR Document 530 Filed 04/08/22 Page 100 of 133
Ryan McGee
Attorney
My Bio

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A referral is the best compliment. If you know anyone that needs our help, please have them call our office 24/7.


From: <owner‐googleteam@lists.susmangodfrey.com> on behalf of Josef Ansorge
<josefansorge@quinnemanuel.com>
Date: Wednesday, March 23, 2022 at 4:34 PM
To: Douglas Brush <douglas.brush@accelconsulting.llc>, Timothy Schmidt
<timothy.schmidt@accelconsulting.llc>, "Mark C. Mao" <mmao@BSFLLP.com>
Cc: QE Brown <qebrown@quinnemanuel.com>, "GOOGLETEAM@lists.susmangodfrey.com"
<GOOGLETEAM@lists.susmangodfrey.com>
Subject: *EXT* Brown v. Google: Additional Descriptive Statistics re: Preserved Data

CAUTION: Use caution when clicking on links or opening attachments in this external email.



Special Master Brush, Mr. Schmidt, Counsel,

As requested during this morning’s meet and confer we have worked with Google engineers to pull additional
descriptive statistics comparing produced preserved data to preserved data that would require reasonable publisher
notice before it can be produced.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              10
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We hope this additional information is helpful to the Special Master to determine whether, and for which publishers,
Google should provide reasonable notice to produce previously preserved records. As stated during today’s meet and
confer, Google is prepared to provide notice to all the publishers     associated with Plaintiffs’ second set of search
requests. Alternatively, we are also prepared to provide notice to the top publishers by record for preserved data and
second set of search requests. To minimize the burden, we respectfully request that the publisher notice be conducted
simultaneously for both cases (Calhoun and Brown) and all further required notices be processed together at one time.

Special Master Brush: Please let us know how we should proceed.

We look forward to working with Plaintiffs and the Special Master team to close out the Special Master process this
week.

Best,

Josef Ansorge
Of Counsel,
Quinn Emanuel Urquhart & Sullivan, LLP

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             EXHIBIT 20
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             EXHIBIT 21
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17   Attorneys for Plaintiffs
18                                UNITED STATES DISTRICT COURT
19                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
20
     CHASOM BROWN, WILLIAM BYATT,                      Case No. 5:20-cv-03664-LHK-SVK
21   JEREMY DAVIS, CHRISTOPHER
     CASTILLO, and MONIQUE TRUJILLO,                   PLAINTIFFS’ NOTICE OF DEPOSITION
22   individually and on behalf of all other similarly PURSUANT TO RULE 30(B)(6)
23   situated,

24                  Plaintiffs,
        v.
25
     GOOGLE LLC,
26

27                  Defendant.

28



       PLAINTIFFS’ 30(B)(6) DEPOSITION NOTICE CASE NO.: 5:20-CV-03664-LHK-SVK
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 1          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 2   Procedure, on a date to be agreed upon by the Parties, counsel for Plaintiffs will take the videotaped

 3   deposition(s) of the designated representative(s) of Google LLC (“Google”) best able to testify as

 4   to the Topics set forth in Appendix A. Google has a duty to designate one or more officers,

 5   directors, managing agents, or other persons with sufficient knowledge to testify fully regarding the

 6   Topics listed in Appendix A. No later than ten business days prior to the deposition, Google shall

 7   identify the person(s) who will testify on its behalf pursuant to this notice and the matter(s) about

 8   which each person will testify. Google shall also produce to Plaintiffs any documents that Google

 9   used or plans to use to prepare the person(s) testifying.

10          The deposition(s) shall be taken through a mutually agreed upon videoconference program

11   (e.g., Zoom), and before a Notary Public or some other officer authorized by law to administer

12   oaths for use at trial. The deposition(s) will be videotaped and will continue from day to day until

13   completed.

14

15   Dated: December 3, 2021                        SUSMAN GODFREY LLP

16
                                                    By:   Amanda Bonn
17
                                                          Amanda Bonn
18

19                                                 Amanda K. Bonn, CA Bar No. 270891
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                                       Attorneys for Plaintiffs
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      PLAINTIFFS’ 30(B)(6) DEPOSITION NOTICE CASE NO.: 5:20-CV-03664-LHK-SVK
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 1

 2
                               APPENDIX A
 3

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      PLAINTIFFS’ 30(B)(6) DEPOSITION NOTICE CASE NO.: 5:20-CV-03664-LHK-SVK
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 1                                                  DEFINITIONS

 2          1.      The term “all” includes the word “any,” and vice versa.

 3          2.      The terms “concerning” or “relating to” include addressing, analyzing, concerning,

 4   constituting, containing, commenting on, discussing, describing, identifying, in connection with,

 5   referring to, reflecting, relating, relating to, reporting on, stating, or dealing with, in whole or in

 6   part, in addition to their customary and usual meanings, and shall be construed in the broadest sense

 7   possible.

 8          3.      The term “document” and “documents” shall be synonymous in meaning and equal

 9   to the broadest meaning provided by Rule 34 of the Federal Rules of Civil Procedure including,

10   without limitation, original and any non-identical copy of every kind of written, printed, typed,

11   recorded, or graphic matter, however produced or reproduced, including all correspondence, letters,

12   telegrams, telexes, messages, memoranda, instructions, emails, handwritten or recorded notes, and

13   all records, schedules, reports, surveys, calculations, transcripts, notes, time cards, personal expense

14   reports, appointment books, calendars, plans, purchase orders, contracts, subcontracts, charts,

15   communications, database, data compilation, diary, draft drawing, electronically stored

16   information, emails, fax, floppy disk, graph, hard drive, image, index, instant message, letter, log,

17   magnetic tape, memorandum, note, optical disk, photograph, report, sound recording, spreadsheet,

18   storage device, text message, version, voicemail or writing. This term shall apply to any document,

19   whether in hard copy or electronic form, on any computers or other system.

20          4.      The term “Google” means Google LLC and any of its directors, officers, consultants,

21   agents, representatives, predecessors in interest, subsidiaries, assignees, licensees, employees,

22   attorneys and any other persons acting on Google LLC’S behalf, including contractors.

23          5.      The term “include” or “including” means “include, but not limited to” or “including,

24   but not limited to.”

25                                      GENERAL INSTRUCTIONS

26          For purposes of reading, interpreting, or construing the scope of the Definitions, General

27   Instructions, and Topics, all of the terms shall be given their most expansive and inclusive

28   interpretation. This includes the following:

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 1                  (a)      The singular form of a word shall be interpreted as plural, and vice versa.

 2                  (b)      “And,” “or,” as well as “and/or” shall be construed either disjunctively or

 3                           conjunctively as necessary to bring within the scope of the Topic anything

 4                           that might otherwise be construed to be outside the scope of the Topic.

 5                  (c)      “All,” “each” and “any” shall be construed as “all, each, and any.”

 6                  (d)      The use of a verb in any particular tense shall be construed as the use of the

 7                           verb in all other tenses as necessary to bring within the scope of the Topic

 8                           any document that might otherwise be construed to be outside the scope of

 9                           the Topic.

10                                                  TOPICS

11          1.      For the Class Period, the information Google collects whenever a user visits a

12   website that has enabled either (1) Google Analytics (including Universal Analytics, Google

13   Analytics 4 and Google Analytics 360) or (2) Google Ad Manager (including Google Ad Manager

14   360)—as well as the transmission of that information to Google. This Topic includes: (a) identifying

15   the scripts or code that transmit the information or cause it to be transmitted; (b) explaining how

16   those scripts or code function and the technical process by which the information collection and

17   transmission occurs; (c) any changes to those scripts or code during the Class Period; (d) the form,

18   format, or content of the information; (e) the extent to which the user’s decision to use a private

19   browsing mode (including Chrome Incognito, mobile and non-mobile) impacts the information

20   collection and transmission processes; (f) Google’s collection of the X-Client Data Header (or lack

21   thereof) and the X-Geo Data Header (or lack thereof); (g) the extent to which signing-in and out of

22   a Google account impacts the information collection and transmission processes; and (h) the extent

23   to which signing-in and out of third-party websites impacts the information collection and

24   transmission process.

25          2.      For the Class Period, the information that Google collects whenever an individual

26   uses any private browsing mode (e.g., Chrome, Safari, IE, Edge and Firefox on either mobile or

27   non-mobile) to visit a website that has enabled conversion tracking and/or remarketing (alone or in

28   combination with Google Tag Manager and/or Google Analytics), as well as the transmission of

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 1   that information to Google. This Topic includes: (a) identifying the scripts or code that transmit the

 2   information or cause it to be transmitted; (b) explaining how those scripts or code function and the

 3   technical process by which the information collection and transmission occurs; (c) any changes to

 4   those scripts or code during the Class Period; (d) the form, format, or content of the information;

 5   (e) the extent to which the user’s decision to use Chrome Incognito (as opposed to normal Chrome)

 6   impacts the information collection and transmission process; (f) Google’s collection of the X-Client

 7   Data Header (or lack thereof) and the X-Geo Data Header (or lack thereof); (g) the extent to which

 8   signing-in and out of Google account in Incognito mode impacts the information collection and

 9   transmission process; and (h) the extent to which signing-in and out of third-party websites impacts

10   the information collection and transmission process.

11           3.      For the Class Period, any Google setting or control that can or does stop the

12   collection and transmission to Google of information referred to in Topics 1-2. This Topic includes

13   the reasons why such setting or control can or does stop the collection and transmission to Google

14   of the information referred to in Topics 1-2 or, alternatively, the reasons for why there is no such

15   setting or control.

16           4.      Google’s ability to alter Google Analytics, Google Ad Manager, Chrome Incognito,

17   or conversion/remarketing tracking to prevent Google from collecting information from users

18   during private browsing sessions.

19           5.      Google’s ability to alter Google Analytics, Google Ad Manager, Chrome Incognito,

20   or conversion/remarketing tracking to prevent Google from storing information collected from

21   users during private browsing sessions.

22           6.      For the Class Period, any consideration or efforts by Google to change or limit the

23   information that Google collects from users during private browsing sessions. This Topic includes

24   without limitation work done by employees in the Chrome group, User Experience Research

25   employees, the Privacy & Data Protection Office, and the Privacy Working Group, as well as any

26   similar Google departments or groups.

27           7.      Google’s storage of the information referred to in Topics 1-2, including (a) the extent

28   to which that storage changes based on whether the user signs in to Google at the beginning, in the

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 1   middle, or at the end of a private browsing session, (b) the extent to which that storage changes

 2   based on whether the user signs in to a third-party website at the beginning, in the middle, or at the

 3   end of a private browsing session, and (c) whether private browsing information is separated from

 4   or comingled with regular browsing mode information.

 5           8.      The extent to which users can view or delete the information referred to in Topics

 6   1-2, including both viewing or deleting the information on their own browsers and devices as well

 7   as within Google’s servers.

 8           9.      Google’s preservation of the information referred to in Topics 1-2 for purposes of

 9   this litigation. This topic includes (a) the mechanisms being used to preserve this information, and

10   the names of those mechanisms and (b) any mechanisms that could be used to preserve this

11   information but that are not being used.

12           10.     The purpose of the                                       bit in        logs, as well as

13   how it is determined, where it is stored, what other information is stored with the bit, how to retrieve

14   the bit and any associated information, and how long the bit and any associated information are

15   stored. See GOOG-BRWN-00176433.

16           11.     The factual basis for any and all affirmative defenses that Google asserts or intends

17   to assert in this case, including all technical details relevant to those defenses.

18           12.     The ability of Google employees to, throughout the Class Period, access in

19   California private browsing information collected from users throughout the United States.

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 1                                   PROOF OF SERVICE
 2         I, Alexander Frawley, declare:
 3   I am a citizen of the United States and employed in New York, New York. I am over
 4   the age of 18 and not a party to the within action; my business address is 1301 Avenue of
 5   the Americas, 32 Floor, New York, NY 10019.
 6            On December 3, 2021, I served the following document(s) described as:
 7
                    PLAINTIFFS’ NOTICE OF RULE 30(b)(6) DEPOSITION
 8
                 BY FACSIMILE TRANSMISSION: As follows: The papers have been
 9
                  transmitted to a facsimile machine by the person on whom it is served at the
10                facsimile machine telephone number as last given by that person on any
                  document which he or she has filed in the cause and served on the party
11                making the service. The copy of the notice or other paper served by
12                facsimile transmission shall bear a notation of the date and place of
                  transmission and the facsimile telephone number to which transmitted or be
13                accompanied by an unsigned copy of the affidavit or certificate of
                  transmission which shall contain the facsimile telephone number to which
14
                  the notice of other paper was transmitted to the addressee(s).
15
                 BY MAIL: As follows: I am readily familiar with the firm’s practice of
16                collection and processing correspondence for mailing. Under that practice it
                  would be deposited with U.S. postal service on that same day with postage
17
                  thereon fully prepaid at San Francisco, CA, in the ordinary course of
18                business. I am aware that on motion of the party served, service is presumed
                  invalid if postage cancellation date or postage meter date is more than one
19                day after date of deposit for mailing in affidavit.
20
                 BY OVERNIGHT MAIL: As follows: I am readily familiar with the firm’s
21                practice of collection and processing correspondence for overnight mailing.
                  Under that practice, it would be deposited with overnight mail on that same
22                day prepaid at San Francisco, CA in the ordinary course of business.
23
                 BY ELECTRONIC MAIL TRANSMISSION: By transmitting a PDF
24                format copy of such document(s) to each such person at the e-mail
                  address(es) listed below their address(es). The document(s) was/were
25                transmitted by electronic transmission and such transmission was reported as
26                complete and without error.

27

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                                                                   Case No. 5:20-cv-03664-LHK
                                            PROOF OF SERVICE
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25         Executed on December 3, 2021, at New York, NY.

26

27
                                                            Alexander Frawley
28
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             EXHIBIT 39
            Redacted in its
               Entirety
